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                   EXHIBIT 1
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                              Donald Falls

                                    vs.

                              Ron DeSantis



                            Deposition of:

                          Robert Cassanello



                           August 05, 2022
                                    Vol 1
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

                        CASE NO.:         4:22-cv-166-MW/MJF

  DONALD FALLS, et al.,

          Plaintiffs,

  vs.

  RON DESANTIS, in his official
  capacity of Governor of Florida,
  et al.,

          Defendants.

      *   *   *     *    *    *       *   *   *   *       *       *   *   *   *

                                      DEPOSITION OF

                          ROBERT CASSANELLO, Ph.D.

                             Friday, August 5, 2022
                             9:51 a.m. - 4:30 p.m.

                    Location: The Fairwinds Tower
                    135 West Central Boulevard
                    Room 1026
                    Orlando, Florida 32801

                    Stenographically Reported By:


                            DONNA FONTAINE
                    Notary Public, State of Florida

                          *       *       *   *       *       *




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  1        Q    -- is founded and based, that factual             1   because that definition doesn't dispute that that could
  2   information is -- does HB7 restrict your ability to         2   be an actual state of being. Right? So that would be
  3   teach accurately those facts?                               3   my addition to that definition.
  4        A    It can. If it interferes with my ability          4        Q    Fair enough. And another, apparently,
  5   to -- to instruct on interpretation.                        5   secondary definition is intolerance of another race or
  6        Q    Interpretation. Well, let's -- let's -- let's     6   other races.
  7   probe that a little more. You say in the next sentence      7        A    Okay. I would -- I would agree with that.
  8   that "In each of my classes, I strive to give students a    8        Q    So your statement says, again, "In each of my
  9   comprehensive view of the history of race and racism in     9   classes I strive to give students a comprehensive view
 10   America."                                                  10   of the history of race and racism in America, including
 11             First, let me ask you to define for me what      11   giving them the tools to explore their own
 12   you mean when you use the term "racism."                   12   interpretations" --
 13        A    Uh-huh. Racism is a -- racism is a prejudice     13        A    Uh-huh.
 14   that is based on the false notion that people are          14        Q    -- "based on research of that history."
 15   biologically distinct by race and that those fictitious    15             What are the tools you're referring to?
 16   biological distinctions have meaning, true meaning.        16        A    I mean -- cognitive skills are the tools I
 17        Q    And do you understand that to be the generally   17   mean. Pedagogical strategies.
 18   accepted understanding of racism when --                   18        Q    Could you elaborate on that?
 19        A    Well, you asked my definition.                   19        A    Sure. Sure. Critical thinking skills. So,
 20        Q    Yes. I am asking if you -- is your definition    20   for example, in all my classes, but also in this class,
 21   in anyway idiosyncratic?                                   21   if you went through the assignments, you will notice
 22        A    Okay. I don't think so. I don't think it is.     22   that I require -- I, essentially, introduce students to
 23   I would think in academic circles it would represent a     23   a set of reading, and the reading is exclusively
 24   majority opinion, if you will, I would say, exclusively    24   academic reading. It's not, sort of, you know, popular
 25   100 percent.                                               25   history, if you will. It's people who are professional


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  1        Q    And -- and is that in any way different from      1   historians and who offer an interpretation, offer some
  2   the meaning of racism that is used in everyday parlance,    2   argument, if you will, about some idea concerning The
  3   in your opinion?                                            3   Civil Rights Movement; and they support their argument
  4        A    I don't know. I've never tested everyday          4   through primary research that they cite in their works.
  5   parlance. I don't have a basis to know that answer.         5   Right? And what I have the students do following each
  6        Q    Well, would you agree with the proposition        6   reading that's connected to, sort of, a subject or theme
  7   that racism is racial, ethnic prejudice, or intolerance?    7   for that assignment, okay, is I have them go to the
  8        A    It's a form of it. Yes.                           8   library. We have a set of databases on -- actually more
  9        Q    Okay. And do you understand the basic             9   than one -- that has primary documents from The Civil
 10   dictionary definition of racism to be any different from   10   Rights Movement for African American history. And
 11   what you understand racism to mean?                        11   depending on the prompt, they are to go in there to
 12        A    I don't know what the -- what the dictionary     12   find, you know, one or more documents, whichever they
 13   definition of racism is. If you can produce it, I will     13   want to do, and then they come to the class and they
 14   comment on it, but I don't know it off the top of my       14   take their documents and they say, "Okay, I saw this
 15   head.                                                      15   document on The Civil Rights Movement and I read it
 16        Q    Well, let's -- according to Dictionary.com, if   16   based on how the reading influenced me this way."
 17   I can represent to you that --                             17   Right.
 18        A    Okay.                                            18             So, for example let's just take what I said
 19        Q    -- the initial definition is "a belief or        19   earlier on the long history. Right? So the long
 20   doctrine that inherent differences among the various       20   history is one of these debates. It's not something
 21   human races determine cultural, individual achievement,    21   that's settled or consensus, if you will. Right?
 22   usually involving the idea that one's own race is          22   There's people that say there was this long history that
 23   superior and has the right to rule others."                23   goes back to the antebellum period that I described
 24        A    The only thing I would dispute in that           24   earlier in my testimony. Right? And there's others who
 25   definition would be the fictitious notion of that,         25   say, "No there's not." The Civil Rights Movement was


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  1   this 1940s, '50s, '60s thing. Anything before is            1   they agree with the long --
  2   something else, not The Civil Rights Movement. So it's      2        A    History.
  3   sort of a debate, if you will.                              3        Q    -- history of The Civil Rights Movement, a
  4        Q    Uh-huh.                                           4   proposition which you evidently --
  5        A    And so I could assign reading and say, "Okay,     5        A    Uh-huh.
  6   read this. This person is offering theory on the long       6        Q    -- endorse, if you will --
  7   history and find me a document that you interpret that      7        A    Sure.
  8   is going to either defend or support that person's          8        Q    -- or they -- or they agree with the scholars
  9   argument." So, you know, theoretically a student could      9   who are on the other side of that debate?
 10   come in and say, "Here is a document I found. It           10        A    Uh-huh.
 11   supports this notion of long history," or "There's a       11        Q    Is that an accurate perception on my part of
 12   document I found that doesn't support this historian's     12   what you're describing?
 13   argument of long history." That's sort of -- what that     13        A    Sure. Sure. So that's a sample, if you will.
 14   is, is -- it is introducing students to critical           14   I mean, every week I don't do the long history.
 15   thinking.                                                  15        Q    Of course.
 16             Actually, if you go to, like, a pedagogical      16        A    But, yeah. That's basically the system, if
 17   Bloom's Taxonomy of learning -- do you know what that      17   you will, the learning system I employ. So the topics
 18   is?                                                        18   just change. The debates change week to week.
 19        Q    I do not.                                        19        Q    You continue in paragraph 5 in saying, "As
 20        A    Bloom's Taxonomy of learning is kind of this     20   part of that instruction, I encourage my students to
 21   pyramid. Right? So at the bottom are basic cognitive       21   think about institutional and structural racism."
 22   skills, things like -- sort of like reading, assessing     22             Would you tell me what you mean when you use
 23   information, and stuff like this. And you go all the       23   the terms "institutional and structural racism"?
 24   way up. And at the top of the pyramid, right, is what      24        A    Sure. So institutional and structural racism
 25   is called original ideas. Okay? So my objective as a       25   are policies and actions that don't necessarily have the


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  1   professor, as a teacher, is to get students to travel up    1   intent to produce a racial outcome or -- let's just say
  2   that pyramid so that they are producing original ideas.     2   a Jim Crow outcome -- right? -- but ultimately do. So,
  3   Right? And so in the assignment I just described to         3   you know, the intent might be quite opposite. Right?
  4   you, if they can demonstrate, "Okay, I have this            4   But through the conduct of the policy or the conduct of
  5   document independent of the reading. It's not in the        5   the action, it could ultimately produce a racial
  6   citations anywhere. This wasn't something this              6   outcome.
  7   historian looked at to give me a prompt or give me a        7             So an example of this is like -- well, an
  8   clue about how to read this document. Wholly                8   example of this is sort of like the -- what's out here
  9   independent. Then I'm reading the document and I'm          9   to the window? I-4. The interstate highway system.
 10   taking this document. And then I'm offering an original    10   Right? So the interstate highway system's intent,
 11   interpretation." Okay? That represents the top of          11   right, was to connect all these cities to cure
 12   Bloom's Taxonomy of original ideas, which is what I        12   congestion of the cities. Right? And it was promoted
 13   strive my students to do in every class that I teach.      13   and conceived as a public good for the country. Right?
 14        Q    Well -- and so when you say you attempt to       14   And in the pursuit of constructing the interstate
 15   give them the tools to explore their own interpretations   15   highway system, especially through historic downtowns,
 16   based on research of that history, then have you just      16   you know, there's a premium placed on securing property
 17   described what you mean when you say "their own            17   and purchasing locations that were cheap and were
 18   interpretations" that they -- if I can attempt to          18   politically easy, if you will, and that tended to be in
 19   paraphrase -- that they read this material that you've     19   neighborhoods that had high minority populations.
 20   directed them to --                                        20   Right? So that created this racial outcome to the
 21        A    Uh-huh.                                          21   interstate highway system. So that would be an example
 22        Q    -- or they select material from a body of --     22   of institutional racism.
 23        A    Uh-huh.                                          23        Q    And the -- and that's what you mean, I take
 24        Q    -- research that you've directed them to, and    24   it, in the succeeding sentences in this paragraph when
 25   they determine for themselves from that material whether   25   you talk about racial outcomes or Jim Crow-like


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  1   under that is subsection B. Do you see that?                1   whites, where slavery was practiced, believed that
  2        A    I don't have that on page 6.                      2   whites were morally superior to Blacks and whether or
  3        Q    I'm sorry.                                        3   not this HB7 --
  4        A    Sorry. Page 6?                                    4        A    Uh-huh.
  5        Q    Page 6.                                           5        Q    -- in your opinion would prohibit you from
  6        A    All right.                                        6   discussing that fact about slavery.
  7             MR. DeMAGGIO: Let's get this out of the way.      7        A    I think it depends on -- you know, I don't
  8        A    Okay.                                             8   have a role in the policing mechanisms of HB7, and I
  9             MR. DeMAGGIO: He's directing you there.           9   don't have a role in, you know, how a student may or may
 10   BY MR. COOPER:                                             10   not feel based on a topic I introduce in class or how I
 11        Q    Subparagraph B. Do you see that?                 11   introduce that topic. Right? So I don't know that, you
 12        A    8 subparagraph B. Yes.                           12   know, if I introduce something, if that's not going to
 13        Q    And it says "Paragraph A," which I will          13   have a requisite cascading effect of my teaching and the
 14   represent to you includes the concept concerning moral     14   content of my teaching comes under scrutiny.
 15   superiority. "Paragraph A may not be construed to          15        Q    And so your view of whether or not discussion
 16   prohibit discussion of the concepts listed therein as      16   about moral superiority would depend how students
 17   part of a larger course of training or instruction,        17   reacted to that feature of slavery that we are
 18   provided such training or instruction is given in an       18   discussing?
 19   objective manner without endorsement of the concepts."     19        A    That, or -- I mean, if you want to go, you
 20             Again, that provision of the HB7 would appear    20   know -- really, kind of, a thought experiment here. I
 21   to permit discussion around the moral superiority -- the   21   mean, not only a student, but someone off the street, a
 22   concept of moral superiority of one race over another.     22   lawmaker in Tallahassee, an administrator at UCF. I
 23   Do you dispute that?                                       23   mean, I don't know. You know, there isn't really a lot
 24        A    I think my problem -- if you don't mind me       24   in here that protects me and my academic freedom. So
 25   elaborating -- is on the objective manner part of that     25   when you're saying, "Does it stop you from teaching?" I


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  1   passage.                                                    1   mean, theoretically -- I mean, this law is designed to
  2        Q    Well --                                           2   stop me from teaching a variety of things or its intent
  3        A    Do you want to handle that now or do you want     3   is designed to stop me from teaching a variety of
  4   to wait?                                                    4   things. Unfortunately, I'm not the arbitrator of
  5        Q    We are going to probe into that, but before we    5   whether what I'm teaching is appropriate or, you know,
  6   do, let me ask you this: Was slavery itself premised in     6   germane to the topic or not.
  7   part on the concept that whites were morally superior to    7        Q    And who do you understand the arbitrator to
  8   Blacks?                                                     8   be?
  9        A    I'm not a historian of slavery, in that whites    9        A    I think there's a variety of arbitrators here.
 10   would have assumed superiority and moral. Would have       10   One is the student, any student. I think people off the
 11   been sort of in that milieu? Yes.                          11   street -- if -- you know, say if I were to record a
 12        Q    Do you think that HB7 would prohibit you from    12   lecture or discussion that I wanted to disseminate
 13   discussing that element of slavery?                        13   publically and it's out there from a class, someone off
 14        A    I think HB7 would prohibit me from discussing    14   the street can say, "Hey, you know, he's violating HB7."
 15   that element of slavery if I have a student stand up in    15   An administrator at UCF could say, "Yeah, you're
 16   class and say, "You're making me feel guilty by            16   violating HB7 and we're not going to get our performance
 17   introducing me to this material." And then I think HB7     17   fund. It'll be taken away."
 18   in that regard would be triggered in that discussion.      18             Board of Governors -- any standing committee
 19        Q    Well, we are going to come to the provision or   19   in the Florida legislature and there's -- I don't mean
 20   the concept that deals with feelings of guilt and          20   to offend anybody in here, but I would like to talk --
 21   anxiety, but I want to stay focused now on the question    21   if you don't mind giving me a little latitude here.
 22   of whether or not discussions --                           22        Q    Please.
 23        A    Sure.                                            23        A    Okay. We have a local legislature who
 24        Q    -- in your course or in class about whether --   24   represents Lake County, Anthony Sabatini. Anthony
 25   about the element of slavery in which -- in which          25   Sabatini went on our local news station, Channel 13 News


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  1   -- this would be just before this sometime -- and he        1   world and they come to the same conclusion. Right?
  2   went on the news and he was interviewed by a local          2   Verifiable. Right? We don't have that in history. We
  3   newscaster. And I am quoting here. I'm not                  3   have interpretation. And what we, as historians, must
  4   paraphrasing. He said, "99 percent of the professors        4   do is understand that we are not objective. Right? The
  5   who teach in our public universities are cultural           5   history produced is not objective. Right? History I
  6   Marxists and indoctrinate their students." Now, that's      6   produce is not objective. And I would say never the
  7   the figure he used. 99 percent. I'm assuming I'm not        7   articles I have written, the books I've done, represent
  8   the 1 percent. I'm assuming I'm the 99 percent. And         8   anything approaching a variable truth. It represents a
  9   Anthony Sabatini -- correct me if I'm wrong -- sits on      9   truth. It represents what I believe to be true; what
 10   standing committees in Tallahassee. And this law, or       10   I'm trying to interpret; what I'm trying to prove.
 11   the subsequent part of this law -- the -- and the          11   Right? But it doesn't represent something that is, sort
 12   conforming bill -- allows any standing committee to        12   of, universally true, if you will. Right?
 13   determine, you know, whether an HB7 violation had          13             And so when I instruct students on the
 14   occurred or not.                                           14   practice of history, right, I have this objectivity
 15             So, you know, I don't trust someone like         15   discussion with them because what I don't want them to
 16   Anthony Sabatini to determine, whether, you know -- what   16   come away with is the idea that there is a single
 17   I'm doing in class is germane or not, because he has       17   objective truth. It's philosophically, sort of, a
 18   inherent prejudice to someone like me and what I teach.    18   school of thought that I think predominates in history
 19        Q    I want to move now to paragraph 7.               19   as an academic discipline now.
 20        A    Okay.                                            20             And so the problem with objectivity and the
 21        Q    And I will read, again, the first sentence,      21   problem with -- specifically with our -- the guidance we
 22   which I read earlier: "HB7 purports to allow me to         22   have been given at UCF -- I've seen at the University of
 23   'discuss' the concepts listed therein as part of a         23   Florida and the language I've seen in this document, as
 24   larger course of training or instruction, provided such    24   well as previous laws passed about the instruction of
 25   training or instruction is given in an objective manner    25   history in the Florida legislature, all assume that


                                                       Page 55                                                         Page 57
  1   without endorsement of the concepts." End quote.            1   history is objective truth. It's a single objective
  2             You continue in your paragraph 7: "However,       2   truth. Right? And it's not. It's not what I do, and
  3   this exception reflects a misunderstanding of what          3   it's not how I instruct students to think, if their
  4   historians do and how history is taught. It is              4   intent is to become a practicing historian in some
  5   impossible to give an objective account of history."        5   capacity.
  6             I would like for you to explain -- I think you    6        Q    Are there no objectively variable facts that
  7   alluded to it earlier --                                    7   historians agree upon having occurred?
  8        A    Uh-huh.                                           8        A    You're confusing facts with interpretation.
  9        Q    -- when you used the word "objective." But I      9        Q    Well -- and we discussed this previously and
 10   would like for you to explain why you believe it's         10   if I --
 11   impossible to give an objective account of history.        11        A    You're being a little postmodern here.
 12        A    Sure. As I mentioned earlier, when you were      12   Historians don't dispute facts. Historians dispute
 13   saying, "Does this stop you from facts?"                   13   interpretation. That interpretation is based on facts,
 14             And I said, "Well, history is not facts.         14   but historians don't say, "No, your facts are wrong."
 15   History is interpretation."                                15   They say, "Your interpretation is wrong." And they
 16             And since I believe history is interpretation,   16   might bring with them other facts, other documents, but
 17   objectivity comes into question because history is not a   17   they wouldn't say, "Hey, that fact is wrong. This fact
 18   science. It's not a hard science. It is not even           18   is wrong." That's kind of an absurd way of thinking
 19   really a social science. Right? So the pursuit of          19   about history.
 20   history -- and as a professional historian, I do not       20        Q    So, for example, in your interpretation of the
 21   believe that my personal pursuit -- my own research, my    21   facts that you believe to be relevant --
 22   own publications -- yields variable truth. Right?          22        A    Uh-huh.
 23   That's something that, you know, chemists and physicists   23        Q    -- and the historical events that occurred --
 24   do and stuff. They do an experiment. Right? And then       24        A    Okay.
 25   someone can reproduce that experiment anywhere in the      25        Q    -- that you believe to be relevant to the


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  1   you know, I would address it in that sort of way. Does      1             So, Dr. Cassanello, do you believe that
  2   that make sense?                                            2   members of one race are morally superior to members of
  3        Q    I think it does.                                  3   another race?
  4        A    It's not completely out of the realm. Right?      4        A    Are you asking me to respond to 4(a) and 1 or
  5        Q    Well, by "out of the realm," you mean it's --     5   just 1?
  6   a history teacher could be confronted with a student --     6        Q    Just 1.
  7        A    Yeah.                                             7        A    No.
  8        Q    -- who might want to do that?                     8        Q    You do not believe that.
  9        A    Right. So it's not as blunt as, you know,         9             Do you believe that someone who does believe
 10   denying the Holocaust. It's just sort of ancillary to      10   that members of one race are morally superior to members
 11   it. Right?                                                 11   of another race would be a racist?
 12        Q    Okay. I do want to ask you if you meant to       12        A    Yes.
 13   suggest that the difference between the possibility of     13        Q    So if one of your colleagues espouses that
 14   100,000 Jews being murdered in the Holocaust and           14   belief -- espoused to his students -- that members of
 15   8 million is -- is a matter of indifference to             15   the white race are morally superior to members of the
 16   historians who study that event and that period of         16   Black race, for example, you believe that would be a
 17   history?                                                   17   racist?
 18        A    No. I think it's more a proxy way, that          18        A    I believe that's a racist statement.
 19   Holocaust denialism. Right? If I say, "Oh, the             19        Q    Yes. Would that be, what I think -- elsewhere
 20   Holocaust happened. It was 100,000. It wasn't 8            20   in your declaration you use the term "white supremacist
 21   million. Why are Jewish people making such a big deal      21   discourse," would that be white supremacist discourse?
 22   about this?" That's where it comes from. So it's kind      22        A    No. White supremacist discourse would be more
 23   of a way of conceding a point, if you will, but then       23   aligned to some kind of racial outcome that benefits the
 24   achieving the same goal of Holocaust denialism. Does       24   morally superior race.
 25   that make sense?                                           25        Q    So moral superiority is not an element to the


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  1       Q     I think it does. Thank you.                       1   white supremacy?
  2             All right. So let's move now back to              2        A    It is, but I think, you know -- you're giving
  3   exhibit -- the exhibit we marked as 5, which is HB7.        3   it a discrete thing, and you're saying "What is this
  4   Could you -- if you turn to page 5. So this is really       4   discrete thing?" And I answered it. I said, "That's a
  5   the central issue in the case --                            5   racist statement."
  6        A    Uh-huh.                                           6             And you said, "Well, is it a white
  7        Q    -- these concepts.                                7   supremacist?"
  8        A    Sorry. You're including 8, too, in that,          8             And I said, "Well, it's white supremacist if
  9   right? The 1 through 8?                                     9   that racist statement is attached to an action. That
 10        Q    Yes. Yes, I am.                                  10   action that would be an action of white supremacy."
 11             Again, for the record, let me read into the      11   That's where I'm going with this.
 12   record the portion that's marked as section 4, little      12        Q    So white supremacy is -- if I understand that
 13   (a). "It shall constitute discrimination on the basis      13   comment -- is tied to outcomes more --
 14   of race, color, national origin, or sex under this         14        A    Or aspirations.
 15   section to subject any student or employee to training     15        Q    Okay. So someone who -- who believes that
 16   or instruction that espouses, promotes, advances,          16   whites are morally superior to Blacks?
 17   inculcates, or compels such student or employee to         17        A    Uh-huh.
 18   believe any of the following concepts."                    18        Q    But that is not in any way attached to any
 19             And then the legislation lists eight concepts.   19   particular outcome that is racially disparate. That
 20   I want to -- I want to discuss those eight concepts with   20   would -- that would take that belief out of the --
 21   you.                                                       21        A    Put action to the belief, if you will.
 22             The first one reads: "Members of one race,       22        Q    Are you saying that white supremacy and the
 23   color, national origin, or sex are morally superior to     23   belief in white supremacy requires action as opposed to
 24   members of another race, color, national origin, or        24   just mental beliefs?
 25   sex."                                                      25        A    I believe that the racist feeling or


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  1   all of them, but those are the ones I'm aware of.           1   "20 percent of people, you know, only willed guns to
  2        Q    Well, let me ask you this: Do you think that      2   other people, so how common could it have been?" or
  3   instructing in class -- and to make this as egregious as    3   something like that. You know. What had happened is
  4   I can -- a class that is integrated racially --             4   there were some people -- some academics, some people
  5        A    Okay.                                             5   who were gun enthusiasts, if you will, who poured over
  6        Q    -- that Blacks are morally inferior to whites,    6   his research and said, you know, like, went into the
  7   or whites -- to use the exact framing -- whites are         7   citations and said, "You said this. Where is this?
  8   morally superior to Blacks, would that be like Holocaust    8   Where is that? I can't find it." Right?
  9   denial in its egregiousness that it would warrant           9             And so he confessed later, "Oh, all those
 10   short-circuiting this process? If you don't know --        10   records I had were destroyed when the ceiling in my
 11        A    I've never thought about that. I would have      11   office collapsed from a rainstorm and I threw out all of
 12   to -- I would have to have more specific information to    12   those legal pads and all those records, so I don't have
 13   make a determination. Academic misconduct is a very        13   them and I can't reproduce them, but these are the
 14   specific thing. Right?                                     14   figures I got from them."
 15        Q    I don't know.                                    15             And other people were saying, "Well, I can't
 16        A    So academic misconduct is when you do            16   duplicate your figures." Right? "So unless I can see
 17   something that violates the ethics of research and         17   your data, I can't verify."
 18   publications. Right? And it could extend to teaching.      18             And he said, "Sorry."
 19   So...                                                      19             So he was at Emory, and Emory did a misconduct
 20        Q    Plagiarism?                                      20   evaluation. Usually it's like a commission -- internal
 21        A    Plagiarism is the most common, but it could      21   group of professors decide. So he was fired. He was
 22   also be, you know, your -- you know, your research is      22   terminated because of that. So that's like -- he wasn't
 23   corrupted, let's say. So an example of this -- I'll        23   plagiarizing, but his research was in question. And so,
 24   give a specific example that you-all might be aware of     24   you know, he was terminated. I am sure he had tenure.
 25   because maybe you watched the news in the '90s. You        25             I don't know an example like that at UCF.


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  1   weren't watching it --                                      1   UCF -- I know the misconduct stuff I'm aware of is all
  2             (Simultaneous laughter.)                          2   in the nature of plagiarism. I haven't seen anything
  3        A    But there was the professor that wrote that       3   that's research misconduct.
  4   book "Armed in America" about the Second Amendment and      4   BY MR. COOPER:
  5   gun culture and all sorts of things that was disputing      5        Q    Let's move on to concept number 2 in Exhibit
  6   the notion of America and, you know, having an              6   5, HB7.
  7   inherent --                                                 7        A    Okay.
  8   BY MR. COOPER:                                              8        Q    I will read that as well. "A person by virtue
  9        Q    More guns, less crime?                            9   of his or her race, color, national origin, or sex is
 10        A    No, no, no. It's not that at all.                10   inherently racist, sexist, or oppressive, whether
 11        Q    Not that good?                                   11   consciously or unconsciously."
 12        A    He was arguing that the founders didn't really   12             Do you believe that a person by virtue of his
 13   envision a nation full of guns and guns owners. That       13   or her race is inherently racist or oppressive, whether
 14   the second amendment was written in a much more            14   consciously or unconsciously?
 15   circumspect way. And what he did to prove that argument    15        A    No.
 16   is he was looking at this gun ownership data and -- what   16        Q    Are you -- let me ask you, Doctor: Are you
 17   is it? -- when you die, you go to court --                 17   aware of any -- are you aware of --
 18             MR. DeMAGGIO: Probate?                           18        A    I'm sorry.
 19        A    The probate records. And who was leaving         19        Q    Are you aware of any -- it's a short table.
 20   guns. If guns were so valuable, who was leaving guns in    20             Are you aware of any of your colleagues at UCF
 21   wills and things like? So he had all this quantitative     21   who hold that belief?
 22   data from, you know, research. I think he was looking      22        A    You mean from, like, casual conversations
 23   New England over all these decades and stuff. Right?       23   or...?
 24   He published charts and graphs and things. And said, "I    24        Q    Any way you might be acquainted with their
 25   counted up, and -- you know, I'm just making this up --    25   beliefs and -- and know them to believe this concept.


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  1        A    I mean, not that I'm aware of. No.                1        A    Okay.
  2        Q    From what you may know about other history        2        Q    And I take it from your syllabi -- I take it
  3   teachers within the public higher education system in       3   from the course you've taught that your -- that your
  4   Florida --                                                  4   historical focus is on race.
  5        A    Okay.                                             5        A    That's a fair assessment.
  6        Q    -- any other teachers? Are you aware of any       6        Q    Okay. So in these -- in the example that you
  7   teachers who -- who hold that belief?                       7   just offered, the privileged race is, say, white cops
  8        A    You mean someone I know personally?               8   and the oppressed race is Black.
  9        Q    Not necessarily. If you know maybe from their     9        A    No. I think you're thinking of this too
 10   scholarship that they, you know, hold that belief, I       10   narrowly. Right?
 11   would be interested to know about that.                    11        Q    Okay.
 12        A    Who's a college or university professor?         12        A    So the privileged race would be white citizens
 13        Q    Yes.                                             13   and their interaction with cops.
 14        A    Not that I'm aware.                              14             And the oppressed would be Black citizens and
 15        Q    Let's go to paragraph -- or concept number 3.    15   their interactions with cops.
 16   "A person's moral character or status as either            16        Q    Okay. And in most of these urban police
 17   privileged or oppressed is necessarily determined by his   17   departments -- at least that I am aware of -- the police
 18   or her race, color, national origin, or sex."              18   force itself is quite thoroughly integrated.
 19             So, Dr. Cassanello, do you believe that a        19        A    Could be.
 20   person's moral character is necessarily determined by      20        Q    Racially integrated.
 21   his or her race?                                           21        A    Sure.
 22        A    No.                                              22        Q    And is the -- do those -- is the oppressed
 23        Q    So that --                                       23   Black citizenry oppressed by the Black police officers
 24        A    I noticed you skipped over "status."             24   as well as the white police officers, or is it a -- or
 25        Q    I -- I don't plan to not go back to...           25   is that a white police officer phenomenon?


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  1             But earlier we talked about, in concept number    1        A    I mean, I can't say with authority because it
  2   1, the whole notion of moral superiority. And I just --     2   isn't something I research or have data on, but I don't
  3   this kind of goes hand in hand with that. And so I'm        3   think the way institutional and structural racism works
  4   assuming your views are consistent here as they were        4   on the part of the people who have power is necessarily
  5   when we discussed concept number 1?                         5   exclusively to one race, if that makes sense.
  6        A    Yes. Okay.                                        6        Q    I'm not sure that does make sense to me.
  7        Q    So let me ask this, then: Do you believe that     7        A    Okay. So -- because I'm basing this on my
  8   a person's status as either privileged or oppressed is      8   understanding of institutional and structural racism.
  9   necessarily determined by his or her race?                  9   Right? The people at the levers of power do not
 10        A    I think it's possible.                           10   necessarily have to be uniformly of a certain race. And
 11        Q    Okay. Okay. Let me ask you to elaborate that     11   when I, kind of, corrected you on status and where the
 12   and -- and tell me what you base that on.                  12   status is deployed, for example, of policing, right, I
 13        A    I base it on my understanding of institutional   13   said, "Police." I never said white police or Black
 14   and structural racism.                                     14   police.
 15        Q    Can you elaborate on that?                       15        Q    True.
 16        A    Well, earlier I gave the example of -- again,    16        A    So that's what I meant by that.
 17   this is not nationally systematic, let's say. I won't      17        Q    Okay. So a -- so the structural racism or
 18   go that far, but, you know, we have -- I believe we have   18   institutional racism is a phenomenon that -- that you
 19   seen evidence of individual, local policing policies, I    19   were describing that occurs notwithstanding that the
 20   think, that would confer a differentiated status, either   20   police force -- and I would suggest, perhaps, even the
 21   privilege or oppressed, based on one's color, race,        21   individual policeman in any particular episode -- may be
 22   national origin. Maybe sex. I don't know. I haven't        22   Black. They may themselves be Black, or at least the
 23   thought about that.                                        23   police force is thoroughly integrated.
 24        Q    Well, just remaining focused on the race         24        A    Conceivably, but, again, I don't research
 25   issue.                                                     25   this, so I don't want to say authoritatively.


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  1   this is how it works," and what have you. I know there      1   caught in the criminal justice system. So see, there's
  2   has been some success, you know. And this came about        2   a difference in how the population is interpreted by
  3   through the George Floyd protests in that there's some      3   some. That's the -- that's the kind of clothing of a
  4   police departments who adapted to community policing and    4   status, if you will.
  5   then they weren't having similar outcomes to places         5        Q    And that is based upon the disproportionate
  6   like, you know, Minneapolis or what have you.               6   conviction and imprisonment of Blacks?
  7        Q    They were not having similar outcomes?            7        A    Right. So -- right. So Michelle Alexander
  8        A    It's my understanding, but I'm -- you know,       8   would say that is because of institutional racism and
  9   again, this is not something I research. It's something     9   the criminal justice system. Right? That would be her
 10   I've just read in the news or maybe read a report or       10   explanation. Others, like, you know, might say, "Well,
 11   something like that.                                       11   no. It's pathology. Black people are just morally
 12        Q    Okay.                                            12   inferior, so the incidence of criminality is higher
 13        A    I can't verify anything.                         13   within their populations." And that's where the
 14        Q    When you say that "those things," including      14   conferring happens in discourse, in that public
 15   these "other factors," then "disproportionately labels     15   discourse.
 16   Black men as criminals and felons."                        16        Q    I take it the professor you earlier
 17             What do you mean by labels them?                 17   mentioned --
 18        A    So this is part of, you know, this notion of,    18        A    Uh-huh.
 19   sort of, embedding status -- I guess that would be the     19        Q    -- perhaps not in the context of criminal
 20   academic term for it -- whereby -- so if we take Jim       20   justice, but has voiced this notion of -- of -- that
 21   Crow, if you don't mind me building an analogy. So the     21   you're just describing, correct?
 22   intent of Jim Crow, you know, was multifaceted. It         22        A    You know, I don't remember word for word what
 23   wasn't just to create separation of the races in the       23   those texts were, so I don't want to say. I don't want
 24   legal way. Its intent was also to prescribe African        24   to put words in his mouth. Right? But I don't think
 25   Americans with a visible reminder of second-class          25   that what you just said is too far afield from what he


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  1   citizenship. Right? So it had that -- that other            1   wrote.
  2   purpose as well. And so here, I believe what Michelle       2        Q    Do you know if anyone apart from him --
  3   Alexander is arguing, is that policing in America is        3        A    Uh-huh.
  4   also prescribing a status, which she describes, to Black    4        Q    -- who's advanced the view based upon the
  5   men.                                                        5   disproportionate conviction and imprisonment rates of
  6        Q    And this labeling Black men as criminals and      6   white and Black men, that -- who takes -- who's
  7   felons --                                                   7   concluded from that that they are morally -- Blacks are
  8        A    Uh-huh.                                           8   morally inferior to whites?
  9        Q    -- as you put it, disproportionately labeling     9        A    Again, this isn't my research. But at
 10   Black men, but that -- but am I correct, though, that      10   colleges and universities?
 11   the label of white men as criminals and felons who have    11        Q    Yes.
 12   been convicted is -- is also the same label, correct?      12        A    I personally don't know anybody. But -- I
 13        A    No.                                              13   mean, I have heard students who have said, "Professor X
 14        Q    How so?                                          14   said this and this," but I don't take too much stock in
 15        A    Okay. So there is a proportionality to this.     15   what a student might say a professor said personally.
 16   Right? So if you look at stats, right, and, you know,      16        Q    And the sentence goes on to say,
 17   Black men and women are caught in the criminal justice     17   "disproportionately labels Black men as criminals and
 18   system at higher proportions to white men and women.       18   felons and justifies subjecting them to inhuman
 19   Right? So on the part of people who might be so            19   treatment."
 20   inclined to pursue the moral character of one race over    20             What is the inhuman treatment you're referring
 21   another might look at those stats and say, "See, Black     21   to there?
 22   people have a propensity to criminality because look at    22        A    Well, you know, there was the case recently --
 23   these stats of convictions, stats of incarceration," da,   23   I don't remember his name, but the person that was in
 24   da, da, yada, yada, yada. But you don't hear the same      24   the Angola prison and the Black man in Louisiana was in
 25   argument for white criminality or white people who are     25   solitary confinement for 48 years. You know, I think


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  1        Q    -- advocates?                                     1   treatment that Black people in the --
  2        A    I was specifically referring to institutional     2        A    Uh-huh.
  3   and structural racism. That's the position I meant.         3        Q    -- who have likewise been convicted and
  4        Q    And how -- and how did she -- how does            4   imprisoned, then it would at least seem to me that their
  5   Michelle Alexander articulate that                          5   status is likewise oppressed just as much as the Black
  6   structural-institutional racism as the sociological         6   person. And so race, in that circumstance, has not
  7   position --                                                 7   determined, has it --
  8        A    Uh-huh.                                           8        A    I think you misunderstood --
  9        Q    -- that she advocate?                             9        Q    -- who has been oppressed or privileged in
 10        A    Sure. Sure. So, again, I'm basing this on        10   that -- in that criminal justice context?
 11   memory. But, you know, she posits that the criminal        11        A    Sure. Sure. I understand the question. I
 12   justice system, up to and including prisons, you know,     12   think you misunderstand how race operates. Right?
 13   is a system in which, you know, racial outcomes            13   You're taking a discrete anecdotal thing and you're
 14   determine the -- you know, the experience and the --       14   saying, "This example represents the whole." What is
 15   maybe go so far as to say the rehabilitation of            15   ascribed in the disproportionate treatment and the
 16   prisoners of color, if you want to include both Hispanic   16   inhumane treatment that's attached to people of color,
 17   and Black.                                                 17   African Americans, right, is something that, not only
 18        Q    Is there any particular passage or place in      18   has consequences within the criminal justice system, but
 19   this book or chapter you would point to that you would     19   also has consequences because of the way the media
 20   say runs afoul of this concept? This concept --            20   portrays disproportionate, you know, outcomes in
 21        A    You mean the concepts here?                      21   criminal justice experience between Blacks and whites.
 22        Q    Yes. The concept that is number 3 and that       22   Right? So it's not -- you know, it's not -- it's in the
 23   you quote in paragraph 12.                                 23   individual; it's in the whole. It's in the collective
 24        A    It's the status part, not the moral part.        24   and how the collective is interpreted and racialized, if
 25        Q    Right. Okay. The status part.                    25   you will, might be a better way to think about it.


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  1             Is there a -- is there a place you can refer      1        Q    And so that is how a person's status is
  2   me to in the book that you think would reflect content      2   privileged or oppressed is necessarily determined by his
  3   that runs afoul because it endorses the concept that a      3   or her race?
  4   person's status is either privileged or oppressed is        4        A    I mean, are you asking me as a rule?
  5   necessarily determined by his or her race?                  5        Q    Yes, I am.
  6        A    It's the thesis of the book. So, certainly,       6        A    I can't answer that because I don't know. You
  7   the conclusion and introduction. Like I said, I don't       7   mean -- you know, everything is -- a lot of things are,
  8   remember any real specifics because it's been a while       8   you know, determined on a variety of variables. Right?
  9   since I read that.                                          9   And so for African Americans in the criminal justice
 10        Q    Well, let me ask you this: What do you think     10   system more often than not that is probably the rule. I
 11   -- what do you believe the word "necessarily" means in     11   can't say with authority, again, because it's not my
 12   that concept?                                              12   research. I have just read things, but I wouldn't say
 13        A    That's in the actual text of the -- I'm sorry.   13   it's like a -- you know, a -- a universal experience,
 14   To me, "necessarily" would mean something that is -- I     14   but I think it represents the majority experience.
 15   don't know if I'm using the right word -- but fixed.       15        Q    What -- in the next sentence you say, "I could
 16   Right?                                                     16   be violating the law by assigning the text."
 17        Q    Okay.                                            17             By "text" you mean The New Jim Crow?
 18        A    If we are going back to my caste conversations   18        A    Yes.
 19   we were having, that would -- you know, that would         19        Q    "By assigning the text because such
 20   represent that fixed status, if you will, as a caste.      20   instruction could be construed to 'espouse, promote,
 21   That might be one way I interpret this.                    21   advance, inculcate, or compel' belief in this forbidden
 22        Q    Okay. Well, if there are, let's say,             22   concept."
 23   non-people of color, white people, who are convicted and   23             On what do you base your concern that, if you
 24   imprisoned and subjected to and labeled as criminals and   24   assign this as part of your class on Jim Crow America --
 25   felons and subjected to exactly the same inhuman           25   if you assign this book, presumably among other texts --


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  1        A    Sure.                                             1   like this, for five years -- for a five-year window.
  2        Q    You are going to assign a number of texts; are    2   Right? So this, again, provides the opportunity for one
  3   you not?                                                    3   to construe what I am doing in the classroom. Right?
  4        A    It's on the syllabus.                             4   And so if one is so inclined to construe that assigning
  5        Q    Yeah. If you assign this book that you would      5   this book is equivalent of violation of one of these
  6   be, yourself, espousing, promoting, advancing,              6   eight things, right, they then can go to UCF and say,
  7   inculcating or compelling --                                7   "Well, now you have got to investigate Cassanello. He
  8        A    I'm sorry. I said "construed" too. So that's      8   violated HB7. He assigned that book." And there could
  9   someone interpreting my behavior, not I'm doing this.       9   be an investigation. Or they could go to the
 10        Q    Okay. So let me ask you something. By            10   legislature -- go to one of those standing committees
 11   assigning this book --                                     11   and say, "Hey, he assigned this book" or "He assigned
 12        A    Uh-huh.                                          12   that book. He's teaching," you know -- you know,
 13        Q    -- or any book that is listed on your --         13   "critical race theory" or whatever is embedded in all
 14        A    Sure.                                            14   this. Right? That's what I mean by this.
 15        Q    -- syllabus, does that -- do you -- do you       15        Q    I understand. And I appreciate that
 16   endorse -- do you espouse the -- the thesis, even let      16   clarification -- clarifying explanation.
 17   alone all the material or content that is included in      17        A    Can I add?
 18   every book that you assign?                                18        Q    Of course.
 19        A    I'm sorry. I don't -- if you give me some        19        A    Sure. For me -- the fear for me is not so
 20   latitude here.                                             20   much what I do, because, I think, if you haven't
 21        Q    Of course.                                       21   already, you got the impression that I come in the
 22        A    I think you're focusing on the wrong thing       22   class. I'm a professional. I take my job seriously as
 23   here. What -- how it can be construed, how it can be       23   an instructor in the classroom. Right? So -- but I
 24   construed, right, I think is -- is the idea that someone   24   can't control what someone thinks of me or what someone
 25   sees that I'm assigning that book. Right? And then         25   wishes to think of me. You know. That could include a


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  1   that book is going to come with a set of prejudices         1   student. That could include someone off the street.
  2   along the lines of what is prohibited in this piece of      2   That could include -- I love saying his -- Anthony
  3   legislation. Right? And it's going to make me a target      3   Sabatini, you know, who says, "99 percent of all
  4   of someone who is going to claim -- could be a student      4   professors are cultural Marxists." Right? So for him,
  5   in the class. Could be a person on the street. Like, I      5   who's on a standing committee -- probably more than one
  6   have gotten emails from, you know, local UCF residents      6   standing committee -- it wouldn't take much for him to
  7   who are not at all connected to UCF in any way and          7   see that I'm assigning that book and then come to some
  8   said -- in fact, the most recent one was something to       8   conclusion that I'm violating the --
  9   the effect of, "You are doing Black people a great          9        Q    Violating one of the concepts.
 10   disservice by teaching them that they are equals with      10        A    Right. That's my concern.
 11   whites," and, you know, "They are" -- you know, "They      11        Q    I understand. And, yes. I certainly, through
 12   are never going to be a" -- you know, I'm paraphrasing.    12   this dialogue we have been having, do believe you take
 13   I don't remember the exact words, but something to that    13   your profession and your responsibilities as a teacher
 14   effect. And "If you don't believe me, go drive through     14   of these young people very, very seriously.
 15   Pine Hills," which is the Black -- one of the Black        15             But I want to come back to my question,
 16   neighborhoods here. Right? And that I would see with       16   because now I think I know the answer. You say that,
 17   my own eyes, and he confused me of being in the ivory      17   because such instruction by assigning Michelle
 18   tower and, sort of, you know, I don't know what's going    18   Alexander's book, you could be construed to espouse,
 19   on around the world. Right? So there's a person out        19   promote beliefs, you know, that are in this book --
 20   there, right, who's assuming what I'm doing in the         20        A    Yes.
 21   class, right, based on what I teach -- what's probably     21        Q    -- whatever they may be. That would not be a
 22   online. A separate piece of legislation, not connected     22   correct construction. You don't espouse, promote,
 23   to HB7, right, requires me to keep a public record of      23   advance the -- necessarily anyway -- everything that's
 24   all the books I assign, right, any learning materials      24   in the books that you assign, do you?
 25   that can be made public, and the syllabus and things       25        A    Any book.


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  1        Q    Any book. Okay.                                   1   know, "There's this that I saw from a website called
  2        A    Sure. Because that's part of the critical         2   League of the South." I actually had that once when
  3   thinking. Right? You want students to be able to take       3   someone presented something from League of the South.
  4   arguments apart. Say, maybe this part of the argument       4   Turned it in. And, like, "Here's my evidence."
  5   works; this part doesn't, so on and so forth. And that      5             I said, "Wow, League of the South are
  6   includes my own work. Like I said, people have poked my     6   self-professed," you know -- you know, "white
  7   work and said, you know, "Cassanello was wrong on this      7   nationalists, right? And "I don't think what you have
  8   or wrong on that." That's how we get at a truth, if you     8   here" -- I'm just -- this is a fictitious example. "I
  9   will. Right?                                                9   don't think what you have here represents a compelling
 10        Q    And that's how your students arrive at their     10   narrative. And so I'm sorry, but I'm going to have to
 11   own interpretations, as you put it earlier?                11   provide some grade consequences for you."
 12        A    Presumably.                                      12   BY MR. COOPER:
 13        Q    And presumably a student encountering your own   13        Q    Material on League of the South wouldn't,
 14   work could come to the student's own interpretation that   14   under any accepted academic or scholarship -- scholarly
 15   you're all wet, right?                                     15   standards -- qualify as serious scholarship?
 16        A    Sure.                                            16        A    Are you asking me?
 17        Q    That, you know, Cassanello doesn't have it       17        Q    I am.
 18   right on this and would --                                 18        A    Oh, oh.
 19        A    Could be a whole class. Could be.                19        Q    I'm asking if you agree with that.
 20        Q    And that student's grade wouldn't be             20        A    Oh, oh, oh. You know, I have not -- I have
 21   prejudiced because they ventured a disagreement with       21   not perused the League of the South's website in some
 22   their professor in your class, would it?                   22   time. And, as I understand it, initially were some
 23        A    Not on that alone. No. Seriously. So what        23   academics attached to it who were sort of trained in the
 24   you describe -- and I have had students who have done      24   '50s and '60s and had a little bit of -- you know, in
 25   this, because, like I said, I'm on the -- you know, when   25   the parlance that I used -- an outdated interpretation


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  1   I present the long history versus, we say, the short        1   to things. And they did a lot of work with the League
  2   history, if you will, for lack of a better term --          2   of the South -- I want to say the '70s and '80s, but
  3        Q    Yes.                                              3   since then, it's pretty much amateur historians, if you
  4        A    -- when I present it, I clearly -- and I          4   will. So, no. I don't think what people see on the
  5   disclose to my students I'm long history. You know. If      5   League of the South represents academic -- academically
  6   they were to look up my research and figure it out          6   accepted scholarship.
  7   themselves. Right? Now, if a student says, "Dr.             7        Q    What is it -- let me ask you this: Apart from
  8   Cassanello, I disagree with you. It's short history."       8   the potential that you're assigning to this text --
  9   And then that student is able to produce evidence and       9        A    Uh-huh.
 10   some facts -- some evidence for their interpretation,      10        Q    -- that could be construed --
 11   you know, able to, kind of, compile, like, "Well, you      11        A    Right.
 12   know, there are these historians who say this. It's        12        Q    -- as you're espousing, advancing, endorsing
 13   counter, and I think it has salience because of this,      13   --
 14   this, and that. And I did some research." Right? So        14        A    Uh-huh.
 15   it constructs this -- what's the word I used? --           15        Q    -- everything in it or anything in it for that
 16   compelling narrative?                                      16   matter --
 17             MR. DeMAGGIO: Coherent narrative.                17        A    Uh-huh.
 18        A    Coherent narrative. Presents a coherent          18        Q    -- apart from assigning it, what is it that
 19   narrative. I would say "Tallyho. You don't agree with      19   you would like to say about this text in your
 20   me, but wonderful that you got to this place."             20   instruction that concept number 3 would not allow you to
 21             The thing is the coherent narrative. Now, a      21   say that? That -- perhaps to be clear, what is it that
 22   student can present something which is not a coherent      22   concept number 3 would prohibit you from saying that you
 23   narrative and say, "Well, I disagree with you,             23   would like to say in your instruction, in your upcoming
 24   Cassanello, because I know Black people are                24   course, that would be prohibited by concept number 3?
 25   pathologically inclined to be criminals." And, you         25        A    So it's the status part, right, which we have


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  1   been -- we have talked about already. So I think you        1   students in the classroom who are so inclined to want to
  2   know my position on that. Right? What I usually do          2   make issue with the text. You know, if there's someone
  3   with these texts and these readings is, you know, I         3   on the street that wants to make issue with the texts I
  4   assign the readings. They take, sort of, a quiz on the      4   assign. Someone in the legislature. Someone at UCF.
  5   reading to determine whether they read or not. Right?       5   So someone in the Board of Governors. It doesn't matter
  6   Then we usually have a -- I give a -- so you printed up     6   what I actually do or say in the classroom, because they
  7   a study guide. Right? This is a study guide. And so         7   have the authority to determine -- to construe -- what I
  8   -- so imagine, you know, that is just the study guide       8   have done, not me.
  9   for this. Right? So they would have study guide. I          9        Q    And so that the record is clear, I think you
 10   give them the questions, and these questions,              10   were referring to Exhibit No. 6?
 11   essentially, quiz related. And quizzes are specifically    11        A    Yeah.
 12   just to the reading. Right? And then, you know, they       12        Q    When you were illustrating --
 13   take the quiz. I determine, oh, they read, they didn't     13        A    Yes.
 14   read, what have you. Then they come into class and we      14        Q    -- kind of methodology you have in your
 15   will have a class discussion about the reading. Then I     15   classroom. And that's the To Brown from --
 16   let them pick out -- usually can't do the entire study     16        A    To Brown From Brown.
 17   guide, but I will pick out the questions that I might      17        Q    -- To Brown From Brown study?
 18   think are important.                                       18             MR. COOPER: You know, if we take a short
 19             Then I will say, "Okay. This question here,      19        snack/lunch break, I may be able to kind of tighten
 20   this question there from the readings, where are you on    20        my thoughts and --
 21   this or what can you do?"                                  21             MR. DeMAGGIO: Fine.
 22             And we'll have a discussion. And the intent      22             MR. COOPER: -- and make the rest my questions
 23   of the discussion is a check to make sure they read. So    23        more efficient and less time-consuming.
 24   got the quiz to make sure they read. I do the              24             THE WITNESS: That's because my answers are so
 25   discussion to make sure they read. And then I would        25        great. Give me credit. Right?


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  1   assign something. Right? And the assignment is              1             MR. DeMAGGIO: This is -- the thing is, like,
  2   where -- where I'm getting at your question. Right?         2        what we are talking about here --
  3             So what I do with reading is they read            3             THE STENOGRAPHER: On the record?
  4   something. And I say, "Okay." Because, remember, I'm        4             MR. COOPER: We are off the record.
  5   trying to get to the top of the Bloom's Taxonomy            5             (Recess taken 1:08 p.m. until 1:46 p.m.)
  6   original. And I say, "Okay. You got the New Jim Crow        6             MR. COOPER: Back on the record.
  7   thesis?" She spends a lot of time on criminal justice.      7             THE WITNESS: Sure.
  8   So criminal justice is off the table. "Go out there and     8   BY MR. COOPER:
  9   find some documents. Maybe do some research that            9        Q    Okay. Dr. Cassanello, I want to now move to
 10   supports or refutes her thesis based on the subject        10   paragraph 13 of your declaration.
 11   you're looking at," which of course can't be criminal      11        A    All right.
 12   justice. Right? So they can look at -- I don't know --     12        Q    And it reads: "Another text I plan to assign
 13   city planning, urban renewal, gentrification. I'm just     13   is the Wages of Whiteness by David Roediger."
 14   throwing stuff out. I mean, "Okay. Does this apply in      14        A    Roediger.
 15   any way to what is here in this?" And you can              15        Q    Roediger?
 16   presumably, you know, argue for or against, but it's       16        A    Roediger.
 17   usually based on, you know, the argument that they're --   17        Q    And I'm going to hand you a book by that title
 18   that they have read. And so what I am testing them on      18   and author and ask you if this is the book that you are
 19   is that they comprehended the argument; they can apply     19   referring to?
 20   the argument in a new way. That's the original part.       20        A    That is the book.
 21             So, again -- I hate to go back to the            21        Q    Okay. You say that "The text examines
 22   construe. You know, so I could be doing everything         22   working-class racism in the United States. Part of the
 23   aboveboard and say, you know -- there's 30 students in     23   text explains how white workers during the labor
 24   here. The end of the semester I want 30 independent        24   movement were ideologically opposed to Black workers and
 25   thinkers. That doesn't matter. If there's one or two       25   how the 19th century labor movement demanded a racially


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  1   things will come up. So it's not so much that students      1        A    -- no matter how I teach it. How I teach is
  2   might have to confront the labor movement of the 19th       2   irrelevant.
  3   century, but then in what way do these concepts, you        3        Q    Okay. Well, which is -- which is to say, as
  4   know, are the sort of ancestor to these, you know,          4   we earlier, I think, discussed, whether you -- you would
  5   racial concepts that we are today grappling with and,       5   not be endorsing this book and its content or espousing
  6   you know, that are -- some of which are a target in this    6   it by assigning it, but simply assigning it and having
  7   legislation.                                                7   it as a subject of discussion in your classes could be
  8        Q    Uh-huh. And so you say that this book, the        8   misconstrued --
  9   Wages of Whiteness, is -- contains content that, if you     9        A    Certainly as an endorsement. Right?
 10   assign it -- or that you believe that concept number 3,    10        Q    -- as an endorsement. Misconstrued.
 11   as we have been discussing it here, would restrict your    11        A    I would like to say on the record I do like
 12   ability to offer instruction on this text, does that get   12   the Wages of Whiteness. It's one of my favorite books,
 13   us back to our dialogue earlier about, for example,        13   so I'll put that out there.
 14   Mr. Sabatini or any particular student in the class?       14        Q    Okay. Can we now move along last to concept
 15        A    Yes. Construed. Construed question?              15   number four in HB7.
 16   Absolutely. Absolutely. You know, whiteness is a           16        A    Okay.
 17   buzzword. I don't know that academics still use --         17        Q    Actually before we do, let me ask one other
 18   like, employ whiteness currently, but certainly            18   question, and I will ask it before, so... I think I can
 19   whiteness -- like I said, whiteness starts there, and      19   anticipate the answer. But what would you want to say
 20   then there's all these branches that come out to these     20   about this book or its content or its legacy that you
 21   racial theories that are in prohibition here. Right?       21   believe that concept number 3 would forbid you to say in
 22             And so, for me, I can't see myself teaching      22   your instruction in class?
 23   that book and just say, "Okay. Labor movement, labor       23        A    Let me answer it this way: I believe someone
 24   movement, labor movement. Thank you. Go home. I'll         24   might construe an endorsement in the way I have fondness
 25   see you next week." I'm going to have to bring up the      25   for this book. And I think this book represents an


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  1   legacy of this book because it has such an                  1   important point, an important dialogue in the history of
  2   intellectually important paternity, if you will. It         2   race and the study of race and racism in the country.
  3   happens to interest me. You know. So, you know, I           3   And I think, you know, if I were to present it that way
  4   don't see this purely as an instruction on the 19th         4   and say, "Okay. Wages of Whiteness, let's use that as
  5   century labor -- labor movement.                            5   an origin point and let's, you know, kind of tree all of
  6        Q    Okay. And that legacy is one that includes        6   the ideas that flow out of the Wages of Whiteness." To
  7   concepts that you believe you are prohibited from           7   me, it's an incredible story because I was in graduate
  8   teaching in the course that you're going -- in which        8   school when this book came out and I remember this book
  9   you're going to assign?                                     9   was hotly contested. Now, you probably would think
 10        A    I believe that includes concepts that one will   10   every, you know -- in order to get a degree in history,
 11   be more than willing to construe that I'm teaching that    11   you've got to sign off on this book somewhere before
 12   violates the prohibitions in HB7.                          12   they give you your diploma. Right? Not true. When the
 13        Q    Okay.                                            13   book came out it was -- the concept of whiteness was
 14        A    I think we have established what I do in the     14   contested. There were historians who were saying
 15   classroom. It's about how one construes. And I'm           15   whiteness is, you know, a canard.
 16   certain -- you know, I like using Anthony Sabatini         16             And since then, I think -- this is my personal
 17   because he's a convenient example. But, I mean, I'm        17   opinion -- I think the book's legacy has been much more
 18   sure -- you know, like I said, my book assignments and     18   esteemed than it was when it came out. And so I think
 19   my syllabi are going to be public for five years --        19   by discussing that with my students, mapping that out in
 20   five-year window -- for the purpose of people to go        20   some way, pointing to the idea that, "Okay. Here's a
 21   through them and say, "This thing, this thing." And        21   book that people, you know, were willing to, kind of,
 22   when someone sees Wages of Whiteness, the whiteness is     22   track when it came out; and then, since then it's had,
 23   going to trigger a discussion that's going to get us       23   you know, this kind of legacy to, you know, to engender
 24   back to here --                                            24   and germane all these kinds of interesting ideas on race
 25        Q    Uh-huh.                                          25   and stuff like that." I think someone in the class,


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  1   they producing truth?" You know, invariably from this       1   not a biological one.
  2   conversation the students will say, "Well, I guess not."    2        Q    Not a biological one?
  3   Right? "If it's just numbers" -- "if it's numbers           3        A    That is correct. Yes.
  4   absent of other things." You know. "How can this            4             So when we speak about race, we are actively
  5   be" -- you know, "How can this be valid history, if you     5   constructing race. Right? And so I understand
  6   will?"                                                      6   historically and the way, you know -- I even write in
  7             So I get at that kind of objectivity question     7   terms of race in a past connotation. I take great care
  8   by assigning that text. So that's a text I do not           8   not to give voice to it in my presence -- my present.
  9   endorse. Right? I don't think it's a well -- I don't        9   Right? So I don't want to say, "Well, yeah, everybody
 10   want to say it's not well researched. It's well            10   of all these different races should all just get along,"
 11   researched, obviously, but it's just not well argued.      11   because then I'm endorsing this notion that there are
 12   Right? So it's a problem with the narrative and            12   these different races and these different races are
 13   interpretation, for me. You know. Then I get the           13   biologically determined.
 14   students to think about, "Well, if it's" -- you know,      14             If you're saying, "Well, couldn't they be
 15   because when I assign the text, I talk about that moment   15   socially constructed?"
 16   in historiography -- philosophy of history -- where        16             Yes. They could be socially constructed and I
 17   historians begin to push away from this notion of          17   have a problem with the social construction. And if I'm
 18   objectifiable truth. Right? That's the book that did       18   employing the notion of race, I am also a person
 19   it for the profession.                                     19   actively constructing that notion of race. Does that
 20             Then they started to think about objectivity     20   make sense?
 21   and truth in, you know, very different ways than the       21        Q    Not -- to be perfectly frank, no. I don't
 22   ways I've described so far in this deposition.             22   think I'm following you.
 23        Q    Turning to concept number 4, it reads:           23             When Roediger speaks of Wages of Whiteness, is
 24   "Members of one race, color, national origin, or sex       24   he speaking about a race that we often, in normal terms,
 25   cannot and should not attempt to treat others without      25   speak of as the white race?


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  1   respect to race, color, national origin, or sex."           1        A    It depends what your definition of white race
  2             Do you believe, Dr. Cassanello, that members      2   is. Do you think race is a biological determination or
  3   of one race cannot and should not attempt to treat          3   are there biologically white people and Black people and
  4   others without respect to race?                             4   Asian people?
  5        A    Well, I mean, I have a problem with the notion    5        Q    Well, did --
  6   of race that we mentioned earlier, but I think all          6        A    You have to define race for me.
  7   people should treat others with -- with respect, no         7        Q    I'm actually asking you to define it for me
  8   matter the category or classifications they fall under.     8   and how you understand it, but how --
  9        Q    Okay. Well, does that -- is that the same as      9        A    Sure. Sure.
 10   saying people should treat others regardless of their      10        Q    How did Roediger?
 11   race as they would treat anyone else --                    11        A    So Roediger is -- actually, that book is an
 12        A    As their perceived race maybe. That's how I      12   argument about the social construction of race. He's
 13   would modify it, but yes. Does that make sense? I          13   not making a biological argument to race. He's making a
 14   don't want to endorse the notion of race and say race is   14   social construction to race. These people, you know,
 15   something which exists. So I don't want to say, you        15   white and Black, if you will, you know, saw each other
 16   know, "I believe everyone of every different race should   16   as distinct races of people. And I think, like,
 17   be treated equally" because then I'm endorsing the         17   technically whites would have been on the biological
 18   notion of race, that I'm endorsing. I don't mind           18   definition of race. Blacks in 19th century and 20th
 19   speaking about race in an historical way.                  19   Century America would have gravitated towards a cultural
 20        Q    Okay. Well, I do have to ask you to explain      20   understanding of race as opposed to a biological.
 21   that to me. What do you mean by you don't want to          21   Right? But they would have both interacted and
 22   endorse the concept of races as though races exist, if I   22   recognized each other as categories of races. Right?
 23   understood?                                                23             So I understand that in an historical sense.
 24        A    Sure. Yeah. You understood me correctly.         24   I write about this stuff in my research. I use the term
 25   Right? So I believe that race is a social construct and    25   white. I use the term Black. Things like this. Right?


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  1   Which -- okay. But what I don't want to do is be a          1   and "Black"?
  2   person today, in 2022, that's, sort of, constructing        2        A    When I use them in contemporary terms, they
  3   someone's race for them and saying, "Well, there's the      3   are social constructions.
  4   white race and the Black race, because I don't believe      4        Q    And who -- who are you describing when you
  5   that people's race is biologically determined. Right?       5   describe the race -- when you describe Blacks as a race?
  6   It's socially determined. And we construct when someone     6        A    So I guess an example I might go to in the
  7   is white and someone is Black; when someone is Asian,       7   classroom would be this. You know, if you look
  8   what have you. Right? So I don't personally want to be      8   historically at -- especially the South and the legal
  9   an active participant in constructing someone else's        9   definitions of the South, right, students are familiar
 10   race.                                                      10   with this notion of the one-drop rule. You know. One
 11        Q    When you -- in your instruction and in your      11   drop of African blood equals an African American, no
 12   scholarship, you use the term "white" and "Black" --       12   matter what someone's complexion may look like. Right?
 13        A    Uh-huh.                                          13   So students are familiar with this. They understood
 14        Q    -- or "Asian" or --                              14   what it means. They understood it's a biological
 15        A    Sure.                                            15   definition. Right?
 16        Q    -- any of these other terms that, I think, in    16             Okay. Then I talk about Brazil. Right? And
 17   the -- in the average person's mind --                     17   Brazil has, like -- I don't know the exact figure, but
 18        A    Uh-huh.                                          18   roughly like 20 different racial categories of Black.
 19        Q    -- is a biological construct.                    19   Racial categories of Black, based on skin color. Right?
 20        A    I don't know. I might dispute that.              20   You know, so race is not the same thing around the
 21        Q    Well --                                          21   world. You know. And so -- I mean, it's not the same
 22        A    What's your evidence that the average person     22   thing. It doesn't have the same definitions. Isn't it
 23   thinks race is a biological construct?                     23   ultimately socially conducted? Right? Like, the
 24        Q    Well, then let me --                             24   Brazilians can have a different definition of race than
 25        A    Because I will say this, if you don't mind.      25   we employ in the United States, that is employed in


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  1        Q    Please.                                           1   Cuba, that is employed at West Africa, things like that,
  2        A    So -- I mean, I have been -- you know, like I     2   South Africa. Right?
  3   said, Wages of Whiteness was one of the seminal books       3        Q    Then, again, when you use the term "Black" --
  4   for me in graduate school. Right? So I was very             4        A    Uh-huh.
  5   conscious of this notion of socially constructed versus     5        Q    -- to make reference to a group or a class, if
  6   biological constructions of race. Right? And when I         6   you will, of people in contemporary times, who are you
  7   got into the classroom, you know, that really became        7   referring to?
  8   something for me to point out to students. Okay?            8        A    I'm referring to people of African descent. I
  9   There's a way of thinking about race as a social            9   employ the word "Black" because most people of African
 10   construction. If it's social construction, what does       10   decent prefer that term. I don't want to say I
 11   that mean, so on and so forth.                             11   exclusively use it. Sometimes I use "African American"
 12             What I found early on within, like, one or two   12   because, when we say, "Black, Black, Black," you know,
 13   years of teaching, the students understood that. Like,     13   it can -- you know, in a prose or in a lecture or
 14   I have yet to meet a student, at least verbally or in      14   something, it can almost sound -- have a connotation or
 15   any way, shape, or form who has communicated a             15   intent you don't mean. So I mostly use "Black," but I
 16   biological category of race, as I understand it            16   then switch back and forth. But the reason I adopt
 17   historically.                                              17   "Black" is because most African Americans, based on
 18             So historically in my own research, if I'm       18   surveys, prefer to be called "Black" than "African
 19   referencing something that's white, Black, Hispanic,       19   American" or any of the other racial categories that
 20   what have you, I'm basing that on the perceptions of the   20   have come about over the years.
 21   time, right, not in a contemporary categorization.         21        Q    Well, racial categories. What race do you
 22        Q    When you use those terms to -- in reference to   22   consider yourself?
 23   contemporary times --                                      23        A    I consider myself part of the human race.
 24        A    Uh-huh.                                          24        Q    Do you -- and of course no one would dispute
 25        Q    -- what do these terms mean, the terms "white"   25   that. Do you consider yourself part of the white race?


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  1        Q    -- declaration. And it reads: "A component        1             Sometimes you can draw the context from what
  2   of The Civil Rights Movement involves criticisms of how     2   is written and you can make that distinction, but then
  3   desegregation was implemented or failed to be               3   you're only drawing a conclusion based on the person who
  4   implemented during The Civil Rights Movement. For           4   wrote the document or possibly the people who are
  5   example, a text I assign, Why Busing Failed: Race,          5   predisposed to agree with said document. So it's not --
  6   Media, and the National Resistance to School                6   there isn't an answer to your question.
  7   Desegregation, by Matthew Delmont discusses how             7        Q    Well, then, if there's not an answer to the
  8   predominantly white antibusing activists, including         8   question, do we know what kind of group of people he's
  9   former Florida Governor Claude Kirk, ultimately             9   referring to when he speaks about predominantly white
 10   succeeded in preventing public school desegregation and    10   antibusing activists?
 11   helped to create a system that gave precedence to the      11        A    He is speaking to white suburban. And I
 12   desires of white parents who opposed desegregation over    12   believe he's making the case of mostly of women,
 13   the civil rights of Black students."                       13   mothers, who are trying to prevent busing of students to
 14             Now, who are you referring to in that sentence   14   achieve some kind of integration goals in local school
 15   when you referred to "white antibusing activists" and      15   systems.
 16   when you refer to "white parents"?                         16        Q    When you say "white suburban" --
 17        A    Sure. So, again, these are in historical         17        A    Uh-huh.
 18   contexts. So I didn't do the research. Delmont did the     18        Q    -- "women," who are they?
 19   research and he's ascribing people being Black and         19        A    Those are white women who probably would
 20   white. And I'm assuming he's basing that on their own      20   self-describe themselves as white and live in suburbs.
 21   self-ascribed identities. I don't know that he's -- I      21   Certainly they would use those -- those terms and some
 22   can't say for certainty he doesn't determine whether       22   documents and things and some of the advocacy they are
 23   it's biological or social constructed, but he's            23   doing would self-describe as white.
 24   employing that to categorize the people who are engaged    24        Q    Might those women you're referring to as
 25   in the history.                                            25   likely self-describing as white, could they just as


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  1        Q    Well, during that period of time -- what          1   accurately describe themselves as Black?
  2   period of time is he referring to?                          2        A    I don't think so. I've never seen evidence of
  3        A    He actually starts in the '50s, the late '50s,    3   that.
  4   and he goes into the early '70s.                            4        Q    How do you mean?
  5        Q    Early '70s?                                       5        A    Well, you're talking about, like -- what's her
  6        A    He starts in New York, I believe. New York        6   name? -- Rachel Dolezal. Right?
  7   and Boston. No, not Boston. He starts in New York and       7             MR. NEWHALL: Dolezal or --
  8   then ends up in the '70s where busing or antibusing         8        A    Do you know who I'm talking about?
  9   activism was really kind of a national movement, if you     9   BY MR. COOPER:
 10   will.                                                      10        Q    I do.
 11        Q    And during that period of time, would you say    11        A    So I don't think that phenomenon existed in
 12   that the categories of white and Black were referring to   12   this period of time, at least I have never seen evidence
 13   biological categories?                                     13   of it.
 14        A    I don't know. I didn't do the research, but I    14        Q    Well, if we were talking about today --
 15   can talk about my own research, if that would help.        15        A    Uh-huh.
 16        Q    No. I'm wondering about this research and --     16        Q    -- could those suburban women describe
 17        A    I don't know that --                             17   themselves as white or Black?
 18        Q    -- that you assign it --                         18        A    Well, I mean, I do believe they have the
 19        A    Sure. Sure. I don't know that, um, Matt          19   constitutional right to describe themselves any way they
 20   Delmont would know the answer to that question. We         20   want. That's not for me to determine or evaluate.
 21   can't know the answer to that question because you're      21        Q    And -- and race as a social construct would
 22   looking at historical documents, and in the historical     22   accept as accurate either description, correct?
 23   documents, when someone uses "Black" they don't say        23        A    I don't know. I don't think that's true.
 24   "Black, I mean socially constructed" or "white, I mean     24   Again, I'll use the Rachel Dolezal example. Right?
 25   biological." No one uses that.                             25   Here's a white woman who --


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  1        Q    Well, you say she's a white woman. As a --        1        A    I mean, accept in what way? I mean, it's none
  2        A    Can I finish?                                     2   of my business. I don't interact with her. She's no --
  3        Q    Please.                                           3   she has no consequence to my life or my scholarship or
  4        A    I'm just saying how people interpret it.          4   me as a professional. I mean, you know, if she --
  5   Right? All right. So she came out and said that, you        5   however she wishes to self-describe is her business.
  6   know, she's a Black woman. She got a great deal of          6   It's not my business and it's not my business to
  7   criticism for that. I don't know that anybody that I'm      7   arbitrate who she is or who she thinks she is.
  8   aware of affirmed her trans-racial identity, if you         8        Q    So that -- and to the extent race is a social
  9   will. So, you know, for me personally, you know, I'm        9   construct, then, you would have no basis on which to
 10   not trying to arbitrate her race. Right? But I don't       10   dispute her if you didn't doubt her sincerity, would
 11   think she -- she's making a social construction            11   you?
 12   argument, but I don't think it is a social construction    12        A    I don't know her sincerity.
 13   argument that has salience and that people are accepting   13        Q    If you had no basis to doubt her sincerity.
 14   it.                                                        14   That's my hypothetical.
 15        Q    Well, do people accept your argument about the   15        A    Sure. Sure. Again, I would not put myself in
 16   social construction of race?                               16   a position to affirm or dispute how she self-identifies.
 17        A    I think some people do. Sure. A lot of           17   She put it out there. Everybody knows all the
 18   people do.                                                 18   information. It's not up to me. What do I care? What
 19        Q    Well -- and do the people who accept your        19   does it matter what my opinion is? So I just -- you
 20   argument for the social construction of race accept        20   know, I wouldn't have an interest in formulating one or
 21   Rachel Dolezal's self-identification as Black?             21   expressing one. It doesn't achieve anything for me.
 22        A    I can't answer that question. I've never         22        Q    Well, would -- I'm simply trying to understand
 23   talked to anybody.                                         23   how you draw your distinctions among people concerning
 24        Q    Do you?                                          24   race. And -- and I'm -- I quite simply don't understand
 25        A    Do I? I mean, to be honest with you I don't      25   how you understand race as a social construct --


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  1   think about it. You know. It's not something that sort      1        A    Uh-huh.
  2   of impacts me as a scholar, so I don't really have a        2        Q    -- if you are unwilling to answer questions
  3   scholarly opinion about it. I think it's kind of            3   about Rachel Dolezal.
  4   interesting that she's making that argument, but I think    4        A    I thought I did answer questions. I'm not --
  5   it also -- it's also -- there's a -- you know, I don't      5   I'm not saying that she represents a race of people.
  6   know her and I never researched her motivations or          6        Q    You're not saying what?
  7   anything, so I don't want to ascribe any behavior to        7        A    I'm not saying that she represents a race of
  8   her. But in cases like that kind of smack of                8   people. That's my position. She's saying that. That
  9   convenience, if you will. And what is probably a            9   is on her. So it's not on me. I'm not the race police.
 10   greater example of that is Ward Churchill. Do you know     10   I don't go in and say, "This person is this race; that
 11   who Ward Churchill was?                                    11   person is that race," or anything like this. I think
 12        Q    I do.                                            12   you're kind of misconstruing my belief system.
 13        A    To me Ward Churchill more, kind of, represents   13        Q    I am just having a hard time understanding
 14   this -- this convenience of using the social               14   your belief system and -- and how it is that -- based
 15   construction of race to achieve a material gain, if you    15   upon how you have described your belief system, that
 16   will.                                                      16   race is a social construct, you identify the races of
 17        Q    Well, if we eliminate from Rachel -- I'm not     17   individuals that you encounter. How do you?
 18   sure --                                                    18        A    You know, I think you mentioned it earlier.
 19             MR. NEWHALL: It's Dolezal, D-O-L-E-Z-A-L.        19   Some of it is assumptions. Some of it is guess. I
 20   BY MR. COOPER:                                             20   mean, some of it self-describes. I've had students over
 21        Q    -- Rachel Dolezal's insincere motives and we     21   the years who said, "I don't"-- "I believe race is a
 22   attribute to her sincerity in her self-perception and      22   social construction," and so, you know, "I believe," you
 23   self-description --                                        23   know, "I'm human" or something or whatever.
 24        A    Uh-huh.                                          24             You know. I say, "Okay." But, I mean, until
 25        Q    -- would you accept it?                          25   I have that information, I try not to know make


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  1   assumptions. I try not to. You know. But, you know,        1   radio and public television from that time.
  2   there's sort of a -- you know, I recognize how we          2        Q    I see. Okay. So you ask your students to
  3   socially group ourselves by race. So I can recognize       3   cite two of the interviews from that link. And "In
  4   that in the classroom. And I am open to the fact of        4   these two paragraphs affirm or refute the thesis of Matt
  5   being wrong in that. If a student corrects me and says,    5   Delmont's book Why Busing Failed or use the information
  6   "This is how I self-identify," I will say, "Okay."         6   from the book and in the discussion post to argue that
  7        Q    You wouldn't say that with Rachel Dolezal?       7   busing can represent a declination narrative for The
  8        A    I don't know Rachel Dolezal. I've never met      8   Civil Rights Movement."
  9   her. I don't know her --                                   9             What -- what is the book's thesis that you're
 10        Q    If she were a student. If she were a student    10   asking students to either affirm or refute?
 11   in your class and she said just what you just said --     11        A    Sure. The book argues that busing, sort of,
 12        A    Uh-huh.                                         12   represents failure to truly grapple with the integration
 13        Q    -- would you say, "Well, okay"?                 13   of American schools after The Civil Rights Movement. So
 14        A    Probably. It's not my business to ascribe her   14   this is Matt -- this is his word. I don't know if I
 15   race or police her race.                                  15   would have worded that... When The Civil Rights Movement
 16             Can I say something off the record for a        16   ends, there is this expectation that American public
 17   moment?                                                   17   schools would be integrated. And he's saying that
 18             MR. COOPER: Go off the record for a second.     18   busing -- busing interferes with efforts at what maybe
 19             (Discussion off the record.)                    19   he might describe as a true integration. And it is sort
 20   BY MR. COOPER:                                            20   of similar in a way of the Wages of Whiteness in that
 21        Q    I am going to hand you another document and     21   he's looking a lot at the suburban moms. Right? And
 22   ask if that is one that you recognize.                    22   trying to make the case that it's this -- you know, it's
 23        A    Okay.                                           23   sort of a gendered movement, women movement, to sort of
 24        Q    Do you recognize the document?                  24   block integration. Meaningful ways in these -- that's
 25        A    Uh-huh.                                         25   roughly his thesis.


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  1        Q    What is it?                                      1        Q    And I want to hand you a book that is titled
  2        A    That is an assignment from the section, or       2   Why Busing Failed -- and it's by Matthew Delmont -- and
  3   part of class, where I introduce the book Why Busing       3   ask you if you confirm to me that that's the book that
  4   Failed.                                                    4   you do assign and that you were talking about?
  5             MR. COOPER: I am going to ask the court          5        A    Yes. Yes it is.
  6        reporter to mark that as our next exhibit.            6        Q    Thank you. Now, you ask your students to
  7             (Defendants' Exhibit 7 was marked for            7   either affirm or refute that thesis and so --
  8             identification.)                                 8        A    Or the declination narrative.
  9   BY MR. COOPER:                                             9        Q    Yes.
 10        Q    Okay. So this exhibit, which has been marked    10        A    Those are two different things.
 11   as Exhibit 7 -- in this exhibit you say, "In a            11        Q    Sure. They have a --
 12   two-paragraph essay cite two interviews from the          12        A    Choice.
 13   Assignment 11-Busing and the Media."                      13        Q    They have a choice. They can choose either
 14        A    Do you want me to tell me where that link       14   option?
 15   goes?                                                     15        A    Uh-huh.
 16        Q    That would be helpful. Yes.                     16        Q    But if they choose to treat [sic] with the
 17        A    So the link goes to a website that hosts        17   thesis itself, they are free to refute it or affirm it
 18   public radio and TV interviews from the past. I don't     18   based upon -- harkening back to our earlier conversation
 19   remember the name of the sites. Like, American Public     19   --
 20   Television Archive or something like that. And so I was   20        A    What's the term I use on the narratives?
 21   able to create a link that just had historic news items   21        Q    Coherent narrative.
 22   from busing from the late '60s and early '70s, like in    22        A    Coherent narrative.
 23   Boston. There might have been a few in Florida and        23        Q    Based upon their own interpretation of the --
 24   things like this. So the interviews are going to be,      24        A    And constructing a coherent narrative.
 25   sort of, news reports from radio or from TV -- public     25        Q    Yes.


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  1             -- of the paragraphs -- excuse me -- of the       1   clips of interviews that had previously been taken and
  2   interviews that they select, correct?                       2   you found in archives?
  3        A    Uh-huh.                                           3        A    The black administrators?
  4        Q    Yeah.                                             4        Q    Yes.
  5        A    Conceivably.                                      5        A    They were -- we interviewed them.
  6        Q    And I take it you're indifferent to whether       6        Q    You interviewed them?
  7   they affirm or refute it. Your assessment of their          7        A    We did or the students did.
  8   paragraphs, of their work in the assignment depends on      8        Q    Okay.
  9   how they support it and how they defend it?                 9        A    We had -- there was a person involved in the
 10        A    Yes.                                             10   content of the film who passed before we started the
 11        Q    Okay. Moving on to your paragraph 16. "Other     11   project, and there were some historic interviews he did
 12   interpretations of The Civil Rights Movement that I        12   that's in the film, but we never interviewed him. But
 13   teach discuss ways in which integration harmed the Black   13   he's the only one.
 14   community. Specifically, the desegregation of public       14        Q    The Black public school administrators and
 15   schools resulted in many Black educators and               15   teachers that you interviewed, how did you identify them
 16   administrators taking pay cuts and losing their jobs as    16   as Black?
 17   schools closed. I co-directed a film called Marching       17        A    They identified themselves as Black.
 18   Forward with UCF film professor Dr. Lisa Mills and my      18        Q    They identified themselves as Black too.
 19   student" --                                                19        A    Sure.
 20        A    Oswmer.                                          20        Q    Moving to paragraph 18. "Under HB7's regime,
 21        Q    -- "Oswmer Louis that covers desegregation in    21   I could be violating the law to offer these texts
 22   Orlando public schools. In discussing those topics,        22   criticizing the desegregation movement because these
 23   part of the film features interviews by Black public       23   criticisms could be perceived as advocating the
 24   school administrators and teachers who were adversely      24   viewpoint that 'members of one race, color, national
 25   impacted by desegregation."                                25   origin, or sex cannot and should not attempt to treat


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  1            When did you and Dr. Mills produce Marching        1   others without respect to race, color, national origin,
  2   Forward?                                                    2   or sex.'" That is concept number 4 that we have been
  3        A    We did it in a -- we teach a class that's         3   talking about.
  4   called History Documentary Workshop. And I'm the            4             Explain to me how these texts that criticize
  5   historian and she's the filmmaker. And we have students     5   the desegregation movement -- and I take it the
  6   there that are in the Burnett Honors College. This is,      6   criticism is based upon the harm that some in the Black
  7   like, the fourth film we have done. We have done            7   community suffered as a result of that desegregation
  8   previous ones as well. And we collaborate on a              8   movement.
  9   documentary project. Most of them end up on public          9        A    Sure.
 10   television. So this film was WUCF. It's aired              10        Q    Explain to me how -- how those criticisms of
 11   nationally.                                                11   the desegregation movement could be perceived as
 12        Q    What's the content of the time frame that --     12   advocating the viewpoint that members of one race,
 13        A    The time frame of the content or when we made    13   color, national origin, or sex cannot and should not
 14   it?                                                        14   attempt to treat others without respect to race, color,
 15        Q    Originated.                                      15   national origin, or sex.
 16        A    So this class -- I think we started in 2016      16        A    So that, again, goes back to how a discussion
 17   and we had a final film 2020. It aired nationally on       17   or concept can be construed. Obviously, I want to --
 18   public television February of 2021.                        18   because I said I want to teach that. I want it to be
 19        Q    Okay. So very recently it aired?                 19   part of the curriculum. But the literature, if you
 20        A    Yeah. But it streams online, so anybody can      20   will, on desegregation is pretty recent and it's pretty
 21   watch it because it's public television. So it's not       21   -- can be controversial because it -- to some extent --
 22   behind the paywall.                                        22   maybe not so much in Why Busing Failed, but some other
 23        Q    And in order to produce the film, did you        23   stuff with the film -- some other things that I might be
 24   and/or Dr. Mills -- are you the ones that interviewed      24   so inclined to assign -- really sort of criticizes
 25   the Black public school administrators, or were those      25   things like white flight, public schools, various and,


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  1   you know, multiple attempts to integrate public schools     1   might construe it in a way that they believe is a
  2   and things like this. And I think in that context,          2   violation of HB7.
  3   there could be a person or their student off the street     3        Q    Well, how is it that the discussion you have
  4   or one of these entities that has the ability to            4   just described would advocate the viewpoint that members
  5   construe what I do.                                         5   of one race cannot and should not attempt to treat
  6        Q    Mr. Sabatino?                                     6   others without respect to race?
  7        A    Mr. Sabatini.                                     7        A    Not in the -- not in the real example I gave
  8        Q    Mr. Sabatini?                                     8   you. But, say, again, in a future class, if I have a
  9        A    Right. Sabatini could construe that as a          9   student that believes, say, in the Black pathology
 10   criticism of, you know -- school system criticism of,      10   argument of African Americans, I can see that discussion
 11   you know, families who desired, let's say, to move to      11   become quite a contestation, if you will. Because, you
 12   the suburbs, you know, you know, which had a direct        12   know, then, you know, I would have to challenge that.
 13   impact on desegregation. You can go so far as to say       13   And, you know, we kind of had a discussion about some of
 14   private school and charter school systems, you know,       14   these things.
 15   things like that.                                          15        Q    Yes.
 16             Now, this may not -- you know, again, I don't    16        A    And imagine that discussion transposed to this
 17   come in the class and say, "In order to pass this class,   17   desegregation. Because, you know, that argument is made
 18   you must think X, Y and Z." We have pretty much            18   for -- by -- those who ascribe to the pathology argument
 19   established that here. Right? But I can tell you when      19   also subscribe oftentimes to, you know, a feeling that
 20   I taught -- when I taught this last time, I had a          20   desegregation should never have been attempted at all.
 21   student in the class who was a -- not just supportive      21   Right? So that kind of discussion could lead down.
 22   but was an activist for the school choice movement. And    22   Again, it wasn't in the example I gave you, but I could
 23   I know that, you know, when did this reading, had this     23   see it.
 24   discussion -- it didn't get heated, right, but, you        24        Q    It sounds to me, actually, like exactly the
 25   know, I could say that she probably expressed views that   25   kind of discussion that we hope is happening in our


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  1   some students didn't agree with, let's say, but it was      1   college classrooms where people of differing approaches
  2   in a politeful [sic] and -- what's the word here,           2   and thoughts are airing them, exposing them to other
  3   respectful? It was in a respectful way. I'm in touch        3   students, seeing the reactions of the other students and
  4   with her. We talk frequently and stuff like this. You       4   their professors, debating them and what have you.
  5   know. There's no ill-will from her experience there.        5   That's -- that's what I -- how I remembered --
  6   But I can see, you know, in a different context someone     6        A    Sure.
  7   presenting that same argument, yet feeling that somehow     7        Q    -- college.
  8   that -- that the class discussion, class content was        8        A    That's the idea. Right?
  9   violating.                                                  9        Q    That's the idea.
 10        Q    Was what?                                        10        A    Right. But, unfortunately, the way the law is
 11        A    That somehow the class content or class          11   written, one can construe what my intent is or what my
 12   discussion was in somehow violating their opinion about    12   purpose is or what my -- what -- what I achieved. And
 13   desegregation.                                             13   whether it's correct or not, I think has no bearing.
 14        Q    And you're citing her and her support for        14        Q    Well, a student -- this hypothetical
 15   school choice as the person whose opinion about            15   student -- down the road who believed in the pathology
 16   desegregation might have been violated?                    16   theory that we discussed, would, by definition, not
 17        A    No. I'm saying that -- not her, because          17   believe, I take it, that members of one race should
 18   obviously it didn't happen. I'm giving you an example      18   attempt to treat others without respect to their race.
 19   where this did not happen. I'm saying I could see in       19   He would --
 20   the future, because this law is going to create the        20        A    I think you're making a lot of assumptions
 21   conditions by which, you know, students, people in the     21   there. We don't know. You know, if we are using --
 22   street, Representative Sabatini have police powers in a    22   we'll use a real person. If we are using Richard
 23   sense almost. Right? I can see, you know, someone          23   Spencer, right, Richard Spencer says, "We should treat
 24   with, you know, that viewpoint who doesn't take the        24   every race as respectful," and so on and so forth, but
 25   discussion, say, the respectful way that it was offered    25   he would be -- I'm speculating on this. He would be of


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  1   the opinion that, you know, African Americans, as a         1        Q    Okay. And let me just -- to fill this out:
  2   lesser race of people, you know, would represent, you       2   Would you instruct that same student that they should be
  3   know, the kind of pathology that we are talking about       3   discriminated against or receive adverse treatment
  4   and would not be someone who would be so inclined to        4   because of that lynching or some such other thing that
  5   support efforts to, say, truly integrate American public    5   was committed in the past by other members of that
  6   schools.                                                    6   student's same race?
  7        Q    Right.                                            7        A    No. I would not.
  8        A    And I think he does it in a very respectful       8        Q    So this -- this concept number 5 --
  9   way. He wears a suit and tie. He doesn't use the word       9        A    Uh-huh.
 10   racism. He uses racialist. And someone like him would      10        Q    -- I think goes hand in hand with number 7.
 11   take offense, you know, to some of this material, I        11   So why don't we jump --
 12   would think.                                               12        A    Actually, can we stay on 5?
 13        Q    Let's move on to -- let's move on to concept     13        Q    Yes, of course.
 14   number 5.                                                  14        A    Because I think you're missing a nuance here.
 15        A    Concept number 5.                                15        Q    Please. I don't want to do that, so...
 16             MR. DeMAGGIO: Can I run to the bathroom          16        A    Great. Great. So I used the example of
 17        before we do that?                                    17   lynching here. That's a pretty historically remote
 18             MR. COOPER: Yeah. Sure. Let's take ten           18   example. Right?
 19        minutes or so.                                        19        Q    Yes.
 20             (Recess taken 3:17 p.m. until 3:24 p.m.)         20        A    So my concern with number 5 would be if I were
 21             MR. COOPER: Back on the record.                  21   teaching or had my students reading things about white
 22   BY MR. COOPER:                                             22   flight -- some of the desegregation issues we talked
 23        Q    All right. I want to call your attention to      23   about -- because that has a much more immediate or a
 24   concept number 5 in HB7. That concept reads: "A person,    24   student could interpret that, let's say, construe that
 25   by virtue of his or her race, color, national origin, or   25   -- has a much more immediate responsibility than


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  1   sex bears responsibility for, or should be discriminated    1   lynching that might have taken place 100 years ago.
  2   against or receive adverse treatment because of, actions    2   Right? So they could look at themselves and say, "Oh, I
  3   committed in the past by other members of the same race,    3   live in the suburbs so all of this stuff about white
  4   color, national origin, or sex."                            4   flight and problems with white flight I might have some
  5             So, Dr. Cassanello, do you believe that a         5   personal responsibility to that."
  6   person by virtue of his or her race bears responsibility    6             Now, I wouldn't teach that. I would, you
  7   for or should be discriminated against or receive           7   know, definitely expect that students wouldn't come away
  8   adverse treatment because of actions committed in the       8   from a lesson on that with that sort of opinion, but I
  9   past by other members of the same race?                     9   think that if one were so inclined -- a student, on the
 10        A    No.                                              10   street, Sabatini -- they can walk away with that sort of
 11        Q    Okay. In fact, in paragraph 20 of your           11   interpretation of what I'm doing with that specific
 12   declaration -- we can take a quick look at that -- you     12   lesson.
 13   say in that first sentence, "I would not instruct a        13        Q    Okay. And I think this may get to your
 14   student, for example, that they bear personal              14   description of a student's possible reaction to that
 15   responsibility for a lynching committed in the past."      15   lesson about the more recent, kind of, racial
 16             So that's just, I take it, an example of --      16   controversy relating to busing and white flight that the
 17        A    Sure.                                            17   student's reaction may be something you describe in
 18        Q    And so why wouldn't you instruct the student     18   paragraph 20 --
 19   in one of your classes that they bear personal             19        A    Uh-huh.
 20   responsibility for that kind of lynching in the past?      20        Q    -- of your --
 21        A    Why wouldn't I?                                  21        A    Uh-huh.
 22        Q    Yes. Why wouldn't you?                           22        Q    -- of your declaration when you -- beyond the
 23        A    I think that would be irresponsible teaching.    23   first sentence, which we just referenced with respect to
 24   That could be something that could result in academic      24   lynching you go to say, "However, I have no control over
 25   misconduct.                                                25   how students will interpret the particular lesson."


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  1        A    Uh-huh.                                           1        A    I mean, it depends situationally, you know,
  2        Q    "Psychological distress, anguish, or a feeling    2   what they communicate to me, but usually --
  3   of personal responsibility to correct injustices is         3        Q    Talk about the ledge.
  4   often a natural response when students learn the role       4        A    The ledge. Sure. Sure. So usually it -- it
  5   that events during Jim Crow and The Civil Rights            5   brings forth -- like I said, what I notice is an
  6   Movement impacted those students' socioeconomic status."    6   internal psychological anguish. Right? And so I try
  7        A    Sure.                                             7   and get them to -- to undo that, if you will. "Let's
  8        Q    Okay. Well -- and -- and that -- that             8   not internalize this. Let's not make this about you.
  9   particular --                                               9   Let's learn about history so that, you know, we can take
 10        A    Can I qualify some of that? Do you mind?         10   lessons from this." And, you know, "Learning about the
 11        Q    Qualify your --                                  11   history about people might make you a much more
 12        A    What you just read.                              12   empathetic person and that's what you might want to be
 13        Q    Yes.                                             13   going forward. And that maybe is the lesson you learned
 14        A    So the reason I used the term "natural           14   out of all of that. That might be something I would
 15   response" is because over the years I have seen students   15   say.
 16   who internalize lessons, especially lessons on Jim Crow,   16        Q    Sure. But your concern is for the students --
 17   The Civil Rights Movement, and stuff I've taught over      17        A    That don't talk to me.
 18   the years. So, to me -- and I'm using the term "natural    18        Q    -- that don't and who may feel the same
 19   response" in an anecdotal way from what I've seen          19   reaction?
 20   students -- how I've seen students internalize these       20        A    Because I think -- yeah. I personally think
 21   lessons and say, "Hey, I" -- you know, "I'm a person" --   21   it might be, you know, more often the case than not.
 22   you know, I don't know they -- I don't recall              22        Q    Uh-huh.
 23   specifically how they might articulate it but it could     23        A    You know. It depends if a student feels
 24   be, you know, "I lived in suburbs and I went to a          24   comfortable talking to you, if a student feels they are
 25   private school." And, you know, then they start kind of    25   in a place where they can tell you about how they


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  1   unpacking all this stuff. Right?                            1   emotionally feel. You know. You might find it hard to
  2        Q    Uh-huh.                                           2   believe, I'm not the most cuddly professor on campus and
  3        A    And so forth ones who -- and, again, over         3   so a lot of students feel intimidated to talk to their
  4   years I have seen this. For the ones who approach me --     4   professors. So I would imagine there's a lot of
  5   say after class or something -- you know, I will talk to    5   students who keep this stuff inside.
  6   them about that, and, sort of, talk them off the ledge,     6        Q    Okay. So let's move on to concept number 8.
  7   if you will. And just say, "Hey, this is history.           7        A    We're going to be here till 7:00.
  8   Let's" -- you know, and I will speak to them, but I         8        Q    Huh?
  9   guarantee you there are students who don't approach me      9        A    We're going to be here till 7:00.
 10   after probably and who might harbor those feelings. And    10        Q    Why do you say that?
 11   if they are so inclined, you know, to interpret this       11        A    Concept 8.
 12   stuff this way, I can see them also lashing out and        12             MR. DeMAGGIO: It's the last one.
 13   saying, "Well, Professor Cassanello made me feel this      13        A    It's what's in there -- what's in there is, I
 14   way." And that's, you know...                              14   think, is going --
 15        Q    But the ones who -- and you have had this        15   BY MR. COOPER:
 16   actually happen, I take it --                              16        Q    Okay. Well --
 17        A    Uh-huh.                                          17        A    We'll see.
 18        Q    -- you're saying --                              18        Q    All right. Well, concept 8 reads as follows:
 19        A    Uh-huh.                                          19   "Such virtues as merit, excellence, hard work, fairness,
 20        Q    -- where students do feel this psychological     20   neutrality, objectivity, and racial colorblindness are
 21   anguish --                                                 21   racist or sexist, or were created by members of a
 22        A    Uh-huh.                                          22   particular race, color, national origin, or sex to
 23        Q    -- in light of a lesson and come to you,         23   oppress members of another race, color, national origin,
 24   but -- and you've -- you know, what is it that you say     24   or sex."
 25   to them?                                                   25             So, first of all, Dr. Cassanello, do you


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  1   believe that these concepts that are ticked off here --     1        A    Uh-huh.
  2   merit, excellence, hard work, and the rest of them -- do    2        Q    Is that -- as you look at that; is that
  3   you believe those are virtues as they are characterized     3   correct?
  4   in the statute?                                             4        A    I believe that's correct.
  5        A    Just as a base definition?                        5        Q    In paragraph 13 you talk about the Wages of
  6        Q    Yes.                                              6   Whiteness.
  7        A    Yes.                                              7             In paragraph 14 you say that -- you say,
  8        Q    Do you believe that those virtues, then --        8   "HB7's prohibition on advocating the racial connotations
  9   just using that as a base definition -- those virtues or    9   of the concepts of merit and hard work..."
 10   any of them are racist?                                    10        A    Uh-huh.
 11        A    I can't answer that question because it          11        Q    And then I'm going to skip over the next
 12   depends on the instruments and the people who are          12   because we have already discussed that concept.
 13   measuring all those categories. So my answer would be      13        A    Sure.
 14   they could be. Inherently they may not be, but they        14        Q    "...of merit and hard work would restrict my
 15   could be.                                                  15   ability to offer instruction on this text."
 16        Q    Give me an example of -- of a concept that       16             "This text" being the Wages of Whiteness.
 17   could be racist in its -- in its use.                      17        A    Sure.
 18        A    Use this?                                        18        Q    So now, reflecting back upon what you have
 19        Q    Yeah.                                            19   already said about these virtues as being potentially
 20        A    Well, it's not the concept. It's the one who     20   racist --
 21   employs the concept. Right? So what you're assuming is     21        A    It could.
 22   if one, you know, faithfully deploys each of these         22        Q    -- if that's a fair point.
 23   concepts, right, the outcome will be fairness. Right?      23        A    Sure.
 24   My argument would be that would depend on the person       24        Q    What do you mean when you say "prohibition on
 25   employing the concept. If the person employing the         25   advocating the racial connotations of the concepts of


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  1   concept is racist, is not colorblind, sexist, what have     1   merit and hard work," racial connotations?
  2   you -- any of these categories or more -- then I think      2        A    That I recall, the context of 14, you're
  3   it doesn't matter whether those concepts in and of          3   right. It's centered around Wages of Whiteness. So I
  4   themselves are truly virtuous.                              4   believe what I was doing there was trying to present
  5        Q    So they -- they can be used -- would it be        5   those concepts within concepts of the history of work
  6   fair to say -- or is it fair for me to understand your      6   and labor in the labor movement. You know. And,
  7   point here that these concepts could be used as pretexts    7   clearly, Roediger's book -- you know, those virtues that
  8   for racist actions?                                         8   we mentioned have no role in -- I'm not saying no role,
  9        A    I think racist would point to these things and    9   but have limited role in whether someone can achieve
 10   claim some cloak of objectivity, if you will, and make     10   social mobility in 19th century America.
 11   the case that their actions did not violate any of these   11             But if I were to kind of revise this, I would
 12   principles.                                                12   maybe move that paragraph below 15 and include both
 13        Q    Okay.                                            13   texts because I think the desegregation questions and
 14        A    But, again, it would depend on the person. It    14   white flight, and all this other kind of stuff, too,
 15   would depend on the tool, if you will.                     15   probably runs into what I'm saying in 14.
 16        Q    Well -- and let's -- I think it may be helpful   16        Q    Okay. So how -- well, just keeping the focus
 17   to my understanding anyway if we refer to your             17   for a moment now on the Wage of Whiteness text. What in
 18   declaration --                                             18   this text in busing -- excuse me, Wages of Whiteness --
 19        A    Okay.                                            19   would contradict the proposition that -- or maybe -- let
 20        Q    -- when you mentioned a couple of these          20   me rephrase that.
 21   things. Let's go to paragraph 14.                          21             What in the Wages of Whiteness would endorse
 22        A    14?                                              22   the proposition that merit and hard work are racist or
 23        Q    Now, first of all, recall that in paragraph 14   23   that they were created by members of a particular race
 24   you were referring to the Wages of Whiteness text, which   24   to oppress members of another race?
 25   you describe in paragraph 13.                              25        A    I would say it this way, if we are talking


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  1   about Wages of Whiteness. Right? What Wages of              1   busing, it's certainly much more recent to those
  2   Whiteness does is introduce the ways in which the person    2   students individually. Right? And then they might feel
  3   or the instrument, right, is inherently racist. Right?      3   anguish because they might question whether, "Well, did
  4   The whiteness. And they are using concepts of merit,        4   I get here because of merit? Did I get here because of
  5   excellence, hard work, fairness, neutrality, objectivity    5   fairness?" And it could cause some psychological
  6   -- I don't know that I would go so far as                   6   distress to that individual.
  7   colorblindness, but all of those other things to say --     7        Q    Well, further to this point, or to this issue,
  8   to defend the racial outcomes that are their intent.        8   let's take a look at paragraph 9 of your declaration,
  9             So this is an example of where we have the        9   which you address the Bell Curve.
 10   people who are employing the virtues of merit and so on    10        A    Uh-huh.
 11   and so forth, but their intent is not to truly create a    11        Q    Paragraph 9 reads: "An example of a
 12   system of those virtues. It's something different, but     12   discredited interpretative lens in the area that this
 13   employ those virtues to cover what their real intent is.   13   law regulates is the concept of the bell curve."
 14        Q    To cover. They are offered as, essentially, a    14             Now, there was a book by Richard Herrnstein
 15   pretext for racism or racial --                            15   and Charles Murray -- and I very well remember when this
 16        A    Right.                                           16   book came out --
 17        Q    -- discrimination, if you will, or --            17        A    So do I.
 18        A    National origin, too -- national origin with     18        Q    -- and the controversy that erupted around the
 19   the labor movement because the Irish and German --         19   book.
 20        Q    The Irish.                                       20        A    Continues to erupt currently.
 21        A    -- were probably not treated equally too.        21        Q    Well, I'm sure it hasn't -- it hasn't
 22        Q    And so those -- that example from the Wage of    22   dissipated a lot. Maybe only increased. But when you
 23   Whiteness with respect to the 19th century labor           23   refer to the Bell Curve, are you referring to this book
 24   movement is one in which these virtues have been -- I      24   specifically or to the basic theory? Or what does this
 25   think, to use your phrasing -- used really to cover        25   book, if anything, have to do --


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  1   racist actions. Is that a fair understanding of what        1        A    Sure.
  2   you mean?                                                   2        Q    -- with your reference here to the concept of
  3        A    I think I did say that, but I don't know if       3   the Bell Curve --
  4   "cover" is the accurate word. Right? Because they           4        A    Uh-huh.
  5   would have had the intent to be racist, and they would      5        Q    -- which you don't really --
  6   have seen nothing wrong with being racist, so it wasn't     6        A    I don't have it in quotes or --
  7   for them a moral failing. So I don't know that "cover"      7        Q    -- identifies --
  8   really -- I know I said that, but I don't know that         8        A    -- italics of the book. I get what you're
  9   "cover" really explains things more. They use -- they       9   saying.
 10   sort of racialize the notion of merit and colorblindness   10        Q    Yeah.
 11   and so on and so forth to achieve a racist goal, which     11        A    So, yeah. That's -- I think that's accurate.
 12   is inherently not those things.                            12   I'm trying to express the notion of the bell curve more
 13        Q    And you -- you express the concern that this     13   so than the book itself. So I think what the Bell Curve
 14   concept, number 8, would restrict your ability to offer    14   does is it introduces -- it's been a while since I read
 15   instruction on Wage of Whiteness. And I think you have     15   the Bell Curve. I read it when it came out. I haven't
 16   now added Why Busing Failed to that concern.               16   read it recently. But it expresses -- I guess to be
 17        A    Sure.                                            17   most accurate -- a question about whether genetics and
 18        Q    Does this get back to the Sabatini --            18   intelligence can be correlated to race. Right?
 19        A    Uh-huh.                                          19   There's, like, a chapter in there, essentially, that
 20        Q    -- dialogue?                                     20   maps that whole thing out. And since that book got
 21        A    Certainly. Certainly. Because it's related       21   published there have been people, including Charles
 22   to the earlier point about, you know, sort of, natural     22   Murray -- his work since -- at least his recent work --
 23   psychological distress, if you will. Right? Because        23   has been trying to make that connection of race and
 24   this also kind of rolls with my personal responsibility    24   intellectual -- intellectual correlation of race. It is
 25   for this system. You know. And if you're talking about     25   more recent work that he's done.


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